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6

7

8                               UNITED STATES DISTRICT COURT
9                              NORTHERN DISTRICT OF CALIFORNIA
10

11   MICHAEL RYAN, MARCO GARZA,        )            Case No.:
     MICHAEL AGUERO, ODELL COWANS,     )
12   BRETT ERION, RUSS RUHNKE, THOMAS  )            COMPLAINT FOR
     KORVES, LUIS FLORES, STEVEN       )            VIOLATIONS OF RACKETEER
13   BERGER, ELIGIO TORRES, and ROBERT )            INFLUENCED AND CORRUPT
     BAKER, on behalf of themselves and all
                                       )            ORGANIZATIONS ACT; VIOLATIONS
14   others similarly situated,        )            OF CONSUMER LEGAL REMEDIES
                                       )            ACT; VIOLATIONS OF UNFAIR
15               Plaintiffs,           )            COMPETITION LAW; VIOLATIONS OF
                                       )            FALSE ADVERTISING LAW; BREACH
16         v.                          )            OF EXPRESS WARRANTY; BREACH OF
                                       )            IMPLIED WARRANTY OF
17   GENCOR NUTRIENTS, INC.; GE        )            MERCHANTABILITY; BREACH OF
     NUTRIENTS, INC.; JITH VEERAVALLI; )            IMPLIED WARRANTY OF FITNESS
18   GENERAL NUTRITION CORPORATION; )               FOR A PARTICULAR PURPOSE;
     GNC CORPORATION; GENERAL          )            FRAUD; NEGLIGENT
19   NUTRITION CENTERS, INC.; S&G      )            MISREPRESENTATION;
     PROPERTIES, LLC; DIRECT DIGITAL   )            RESTITUTION; VIOLATIONS OF
20   LLC; TRUDERMA, LLC; FORCE FACTOR )             PENNSYLVANIA UNFAIR TRADE
     LLC; NAC MARKETING COMPANY, LLC; )             PRACTICES AND CONSUMER
21   KINGFISHER MEDIA, LLC;            )            PROTECTION LAW; VIOLATIONS OF
     DREAMBRANDS, INC.; PHARMAFREAK )               ARIZONA CONSUMER FRAUD ACT
22   HOLDINGS INC.; NDS NUTRITION      )
     PRODUCTS, INC.; MEDICAL RESEARCH )             CLASS ACTION
23   INSTITUTE, INC.; PREVENTION, LLC; )
     PREMIUM NUTRACEUTICALS, LLC; and )             DEMAND FOR JURY TRIAL
24   DOES 1-100,                       )
                                       )
25               Defendants.           )
                                       )
26

27

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                                                1
                                      Class Action Complaint
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1           Plaintiffs MICHAEL RYAN, MARCO GARZA, MICHAEL AGUERO, ODELL
2    COWANS, BRETT ERION, RUSS RUHNKE, THOMAS KORVES, STEVEN BERGER,
3    ELIGIO TORRES, and ROBERT BAKER, on behalf of themselves and all others similarly
4    situated, allege as follows:
5                                       SUMMARY OF ACTION
6           1.      Defendants manufacture, market, and sell Testofen or nutritional supplements
7    containing Testofen, an extract of the herb fenugreek. Defendants advertise and market these
8    products as “testosterone boosters,” representing that Testofen has been “clinically proven” to
9    increase free testosterone levels. These representations are false, based on universally-
10
     accepted principles of statistical analysis that have been adopted by the regulatory bodies of
11
     every “first world” country, including the United States.
12
            2.      Plaintiffs and the other members of the class, who purchased these products
13
     based on these false representations, are entitled to get their money back. Treble and punitive
14
     damages should be also assessed against defendants, who have sold or continue to sell these
15
     products as clinically proven testosterone boosters despite knowledge of the falsity of these
16
     representations.
17
            3.      GNC provides the exclusive “launch” platform for a steady stream of new
18
     “testosterone boosters,” including Nugenix, Troxyphen, and High T products, giving GNC
19

20
     100% of the revenue from the retail sales of these products. As both GNC and the

21
     manufacturers acknowledge, GNC uses its market dominance and influence with its customers

22   to quickly drive sales of these products to levels far beyond what the manufacturers could

23   otherwise achieve.

24          4.      The manufacturers then introduce “new” and purportedly improved versions of
25   each product, and GNC dubs each successive version as the “Newest Latest Greatest,” creating
26   an ever-growing product category, occupying ever-growing shelf space, and bringing ever-
27   growing revenues and profits to GNC and its associates in the RICO “Testofenterprise.”
28

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                                          Class Action Complaint
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                                              JURISDICTION
1
             5.     This Court has original jurisdiction over this action pursuant to the Class Action
2
     Fairness Act, 28 U.S.C. § 1332(d), in that members of the proposed plaintiff class are citizens
3
     of a State different from one or more defendants, and the amount in controversy exceeds the
4

5
     sum of $5,000,000.

6
             6.     Pursuant to 18 U.S.C. § 1964 and 28 U.S.C. § 1331, this Court also has original

7    jurisdiction over Plaintiffs’ claims for violations of the Racketeer Influenced and Corrupt

8    Organizations Act, 18 U.S.C. § 1961, et seq. (“RICO”). Pursuant to 28 U.S.C. § 1367, this

9    Court also has supplemental jurisdiction over Plaintiffs’ state law claims, which are so related
10   to Plaintiffs’ RICO claims that they form part of the same case or controversy.
11                                                 VENUE
12           7.     Venue in this district is proper pursuant to 28 U.S.C. § 1391(b)(2), because a
13   substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred in this
14   district.
15
                                    INTRADISTRICT ASSIGNMENT
16           8.     Pursuant to Civil L.R. 3-2(c), assignment to the San Francisco Division or the
17
     Oakland Division is proper, because a substantial part of the events or omissions giving rise to
18
     Plaintiff Ryan’s claims occurred in Lake County, California.
19

20                                                PARTIES

21
     I.      Plaintiffs

22           9.     Plaintiff MICHAEL RYAN (“Ryan”) is an individual residing in Lake County,

23   California.

24           10.    Plaintiff MARCO GARZA (“Garza”) is an individual residing in Santa Clara
25   County, California.
26           11.    Plaintiff MICHAEL AGUERO (“Aguero”) is an individual residing in San
27   Bernardino County, California.
28

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1           12.     Plaintiff ODELL COWANS (“Cowans”) is an individual residing in Fresno
2    County, California.
3           13.     Plaintiff BRETT ERION (“Erion”) is an individual residing in Butte County,
4
     California.
5
            14.     Plaintiff RUSS RUHNKE (“Ruhnke”) is an individual residing in Orange
6
     County, California.
7
            15.     Plaintiff THOMAS KORVES (“Korves”) is an individual residing in
8
     Sacramento County, California.
9
            16.     Plaintiff LUIS FLORES (“Flores”) is an individual residing in Santa Cruz
10
     County, California.
11
            17.     Plaintiff STEVEN BERGER (“Berger”) is an individual residing in Los
12
     Angeles County, California.
13
            18.     Plaintiff ELIGIO TORRES (“Torres”) is an individual residing in Maricopa
14

15
     County, Arizona.

16          19.     Plaintiff ROBERT BAKER (“Baker”) is an individual residing in Columbia

17   County, Pennsylvania.

18   II.    Defendants

19          A.      Gencor Defendants
20          20.     Defendant GENCOR NUTRIENTS, INC. (“Gencor”) is a California

21   corporation having its principal place of business in Orange County, California. Prior to
22   August 2008, Gencor was known as Gencor Pacific, Inc. Gencor is the manufacturer of
23   Testofen, a standardized fenugreek extract.
24          21.     Defendant GE NUTRIENTS, INC. (“GE Nutrients”) is a California corporation
25   having its principal place of business in Orange County, California. A February 20, 2014
26
     article in the Orange County Business Journal reports that GE Nutrients “operates as Gencor.”
27

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                                         Class Action Complaint
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1           22.     Defendant JITH VEERAVALLI (“Veeravalli”) is, and at all relevant times has
2    been, the President and Chief Executive Officer of Gencor and GE Nutrients.
3           23.     Veearavalli exercises dominion and control over Gencor and GE Nutrients, and
4
     is equally responsible for the wrongful acts alleged herein. Gencor, GE Nutrients, and
5
     Veeravalli are collectively referred to herein as the “Gencor Defendants.”
6
            B.      GNC
7
            24.     Defendant GENERAL NUTRITION CORPORATION is a Pennsylvania
8
     corporation having its principal place of business in Pittsburgh, Pennsylvania. GENERAL
9
     NUTRITION CORPORATION manufactures and sells products containing Testofen through
10
     GNC branded stores and its website, www.gnc.com.
11
            25.     Defendant GNC CORPORATION is a Delaware corporation having its
12
     principal place of business in Pittsburgh, Pennsylvania. GNC CORPORATION sells products
13
     containing Testofen.
14
            26.     Defendant GENERAL NUTRITION CENTERS, INC. is a Delaware
15

16
     corporation having its principal place of business in Pittsburgh, Pennsylvania. GENERAL

17
     NUTRITION CENTERS, INC. sells products containing Testofen.

18          27.     Defendant S&G PROPERTIES, LLC is a Pennsylvania limited liability

19   company having its principal place of business in Norristown, Pennsylvania. S&G

20   PROPERTIES, LLC sells products containing Testofen through its website,
21   www.LuckyVitamin.com.
22          28.     Defendants GENERAL NUTRITION CORPORATION, GNC
23   CORPORATION, GENERAL NUTRITION CENTERS, INC., and S&G PROPERTIES, LLC
24   (collectively, “GNC”) are wholly-owned subsidiaries of GNC Holdings, Inc., a publicly-traded
25
     corporation.
26

27

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            C.      Manufacturer Defendants
1
            29.     The defendants identified below manufacture and sell products containing
2
     Testofen (collectively, the “Manufacturer Defendants”).
3
            30.     Defendant DIRECT DIGITAL, LLC (“Direct Digital”) is a Delaware limited
4

5
     liability company having its principal place(s) of business in Boston, Massachusetts and/or

6
     Charlotte, North Carolina. Direct Digital manufactures and sells Nugenix Natural Testosterone

7    Booster, which contains Testofen.

8           31.     Defendant TRUDERMA, LLC (“Truderma”) is a Nevada limited liability

9    company having its principal place of business in Las Vegas, Nevada. Truderma manufactures
10   and sells Troxyphen and Troxyphen Elite, which contain Testofen.
11          32.     Defendant FORCE FACTOR LLC (“Force Factor”) is a Delaware limited
12   liability company having its principal place of business in Boston, Massachusetts. Force
13   Factor manufactures and sells several products containing Testofen, including Test X180
14
     Testosterone Booster, Test X180 Alpha, Test X180 Ignite, and Stack Factor 2 With Test X180.
15
            33.     Defendant NAC MARKETING COMPANY, LLC dba New Vitality (“NAC”)
16
     is a Delaware limited liability company having its principal place of business in Farmingdale,
17
     New York. NAC manufactures and sells Ageless Male containing Testofen.
18
            34.     Defendant KINGFISHER MEDIA, LLC (“KingFisher”) is a Delaware limited
19
     liability company having its principal place of business in Midvale, Utah. KingFisher
20
     manufactures and sells several products containing Testofen, including High T Testosterone
21
     Booster, High T Senior Testosterone Booster, High T Black Hardcore Formulation
22
     Testosterone Booster, and High T Black Caffeine Free Hardcore Formulation Testosterone
23

24
     Booster.

25
            35.     Defendant DREAMBRANDS, INC. (“DreamBrands”) is an Arizona

26   corporation having its principal place of business in Phoenix, Arizona. DreamBrands

27   manufactures and sells products containing Testofen, including Mdrive and Mdrive Elite

28   Athlete Formula, which contain Testofen.

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1           36.     Defendant PHARMAFREAK HOLDINGS INC. (“PharmaFreak”) is a
2    Canadian corporation having its principal place of business in Toronto, Ontario. PharmaFreak
3    manufactures and sells Test Freak Hybrid Pro-Testosterone Stimulator, which contains
4
     Testofen.
5
            37.     Defendant NDS NUTRITION PRODUCTS, INC. (“NDS”) is a Florida
6
     corporation having its principal place of business in Omaha, Nebraska. NDS manufactures and
7
     sells PMD N-TEST 600, which contains Testofen, and PMD Flex Stack, which includes PMD
8
     N-TEST 600.
9
            38.     Defendant MEDICAL RESEARCH INSTITUTE, INC. (“MRI”) is a California
10
     corporation having its principal place of business in the County of Los Angeles, California.
11
     MRI manufactures and sells NO2 Red Test, which contains Testofen.
12
            39.     Defendant PREVENTION, LLC is a Delaware limited liability company having
13
     its principal place of business in Orange County, California. Naturade, a division of
14

15
     Prevention, LLC, manufactures and sells several products containing Testofen, including

16   Ageless Ultra T Gold, Vitali-T-Aid, and Vitali-T-Aid Energy. Prior to the formation of

17   Prevention, LLC in March 2012, these products were manufactured and sold by Naturade as a

18   division of defendant NNC LLC, a Delaware limited liability company, which maintains its

19   principal place of business at the same address as Prevention, LLC. Prevention, LLC and NNC
20   LLC are individually and collectively referred to herein as “Naturade.”
21          40.     Defendant PREMIUM NUTRACEUTICALS, LLC (“Premium Nutraceuticals”)
22   is a Georgia limited liability company having its principal place of business in Martinez,
23
     Georgia. Premium Nutraceuticals manufactures and sells Testoril, which contains Testofen.
24
            41.     With the exception of Vitali-T-Aid and Vitali-T-Aid Energy, the
25
     aforementioned products manufactured by Direct Digital, Truderma, Force Factor, NAC,
26
     KingFisher, DreamBrands, PharmaFreak, NDS, MRI, and Naturade (collectively, the “GNC
27
     Suppliers”) are sold by GNC.
28

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            D.      Doe Defendants
1
            42.     Plaintiffs are ignorant of the true names and capacities of the defendants sued
2
     herein under the fictitious names Does 1 through 100. Each of the fictitiously named
3
     defendants is responsible in some manner for the acts herein alleged, and proximately caused
4

5
     Plaintiffs’ damages. Plaintiffs will seek leave of court to amend this complaint to allege said

6
     defendants’ true names and capacities as soon as Plaintiffs ascertain them.

7           E.      Civil Conspiracy, Agency, and Alter Ego

8           43.     At all times mentioned herein, each defendant was the agent for each other

9    defendant, was acting in the course and scope of such agency, and was engaged in a civil

10   conspiracy to do the things herein alleged.

11          44.     At all times mentioned herein, Gencor and GE Nutrients were and are the alter
12   ego of Veeravalli.
13                              COMMON FACTUAL ALLEGATIONS
14   III.   Gencor’s Representations Concerning Testofen
15          45.     Gencor’s website, www.gencorpacific.com, states that its mission is to “support
16   changing human health needs across the lifespan through innovative, clinically proven
17   ingredients,” and that “Our herbal ingredients have been clinically studied and shown effective
18
     in both animal and human clinical trials.”
19
            46.     One of the herbal ingredients manufactured and sold by Gencor is Testofen, a
20
     standardized extract of the herb Trigonella foenum-graecum, commonly known as fenugreek.
21
     The name of the product, Testofen, is an amalgamation of the words “testosterone” and
22
     “fenugreek.” Gencor sells Testofen to manufacturers of nutritional supplements, including the
23
     other defendants named herein, for inclusion in their products, which are marketed and sold as
24
     clinically-proven “testosterone boosters.”
25
            47.     On the page devoted to Testofen (Exh. 1), Gencor’s website states that:
26
                    Testofen is the branded name for Gencor’s fenugreek extract.
27                  Fenugreek is a well-known, versatile herb that contains over 100
                    phytochemical constituents, including Furostanol Saponins and
28                  Steroidal Saponins. While fenugreek has multiple health
                                                      8
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                    applications, the active constituents included in Testofen have been
1                   shown to boost testosterone levels and thereby increase libido, lean
                    muscle mass and immune functions. The group of saponin
2
                    glycosides that Testofen is standardized to is named Fenuside.
3                   After age 30, most men begin to experience a natural and gradual
                    decline in testosterone levels, which can result in reduced drive
4                   and libido and a slow loss of muscle tone and definition. Most of
                    the testosterone found in men is bound to the Sex Hormone
5                   Binding Globulin (SHBG) and Albumin. Only 2−3% of the
                    testosterone present in the human body is typically in a free state.
6
                    Testofen has been shown to increase free testosterone, up to 98
7                   percent, in an eight-week trial (see below).
8           48.     Under the heading “Clinical research,” Gencor’s website states:

9                   Human study on free testosterone levels and performance

10                  Study Results: A double-blind, randomized, placebo-controlled
                    human clinical study of 60 subjects was conducted using Testofen
11                  as the sole ingredient. The active group demonstrated the
                    following statistically significant results:
12
                    •   Significant increase in free testosterone (p<0.05) compared to
13                      placebo group
14                  Citation: Wankhede et. al., 2006 “Effect of Testofen on safety,
                    anabolic activity and factors affecting exercise physiology.” To be
15                  published.
16          49.     Below the citation to “Wankhede et al.” (hereafter, the “Testofen Study”) is a
17   link for visitors to “Request Complete Study,” which generates a pop-up window stating: “To
18
     request the complete study document in PDF format please enter your email address below.”
19
     Such requests are consistently ignored by Gencor.
20
            50.     Based on the foregoing, the website makes the “Approved health claim” that
21
     Testofen “Increases free testosterone levels.”
22
            51.     The website features a video of Gencor’s Chief Scientific Advisor, Paul
23
     Clayton, Ph.D. (available at http://www.youtube.com/embed/NL_4G13Y1is?autoplay=1),
24
     whom Gencor describes as “the UK’s leading expert in the fast-developing science of
25
     pharmaco-nutrition.” In the video, Dr. Clayton states that Testofen:
26
                    results in approximately a doubling of free testosterone levels.
27                  Now that’s important because as we get older, and as we get more
                    stressed, more tired by the constant demands of work and life in
28                  general, very often testosterone levels fall, and as they do we
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                    experience a loss of libido, of drive, muscle tone as well, because
1                   testosterone is very important in building muscles. By taking
                    Testofen and achieving a doubling of free testosterone levels all of
2
                    these adverse changes are reversed . . . .
3    IV.    Statistical Principles for Clinical Trials
4           52.     The International Conference on Harmonisation of Technical Requirements for
5
     Registration of Pharmaceuticals for Human Use (“ICH”) Harmonised Tripartite Guideline,
6
     Statistical Principles For Clinical Trials, E9 (Feb. 4, 1998) (the “ICH Guideline”) sets forth
7
     principles for the statistical analysis of human clinical trials that have been adopted by the
8
     regulatory bodies of the European Union, Japan, and the United States, including the U.S.
9
     Department of Health and Human Services, Food and Drug Administration’s (“FDA’s”)
10
     Center for Drug Evaluation and Research and Center for Biologics Evaluation and Research.
11
     The ICH Guideline is available on the FDA’s website at
12
     http://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/
13
     UCM073137.pdf.
14
            A.      Exploratory Studies and Confirmatory Trials
15
            53.      The ICH Guideline explains the difference between an “exploratory study” and
16
     a “confirmatory trial” as follows:
17

18                  A confirmatory trial is an adequately controlled trial in which the
                    hypotheses are stated in advance and evaluated. As a rule,
19                  confirmatory trials are necessary to provide firm evidence of
                    efficacy or safety. In such trials the key hypothesis of interest
20                  follows directly from the trial’s primary objective, is always
                    pre-defined, and is the hypothesis that is subsequently tested
21                  when the trial is complete. [Section 2.1.2 (emphasis added).]
22                  The rationale and design of confirmatory trials nearly always rests
                    on earlier clinical work carried out in a series of exploratory
23                  studies. Like all clinical trials, these exploratory studies should
                    have clear and precise objectives. However, in contrast to
24
                    confirmatory trials, their objectives may not always lead to simple
25
                    tests of pre-defined hypotheses. . . . Such trials cannot be the
                    basis of the formal proof of efficacy, although they may
26
                    contribute to the total body of relevant evidence.

27                  The protocol should make a clear distinction between the
                    aspects of a trial that will be used for confirmatory proof and
28

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                     the aspects that will provide data for exploratory analysis.
1                    [(Section 2.1.3 (emphasis added).]
2            B.      Primary and Secondary Variables
3            54.     The ICH Guideline explains the difference between a “primary variable” or
4    “endpoint,” and a “secondary variable” as follows:
5
                     The primary variable (‘target’ variable, primary endpoint) should
6                    be the variable capable of providing the most clinically relevant
                     and convincing evidence directly related to the primary objective
7                    of the trial. There should generally be only one primary
                     variable.
8
                     To avoid multiplicity concerns arising from post hoc
9                    definitions, it is critical to specify in the protocol the precise
                     definition of the primary variable as it will be used in the
10                   statistical analysis.
11                   Redefinition of the primary variable after unblinding will
                     almost always be unacceptable, since the biases this introduces
12                   are difficult to assess. When the clinical effect defined by the
                     primary objective is to be measured in more than one way, the
13
                     protocol should identify one of the measurements as the primary
14
                     variable on the basis of clinical relevance, importance, objectivity,
                     and/or other relevant characteristics, whenever such selection is
15
                     feasible.

16                   Secondary variables are either supportive measurements related to
                     the primary objective or measurements of effects related to the
17                   secondary objectives. [Section 2.22 (emphasis added).]

18           C.      Multiplicity

19           55.     In human clinical trials for efficacy, statistical significance is established by

20   having a probability or “p” value of less than 0.05, usually expressed as “p < 0.05.” In

21   layman’s terms, this means that there is less than a 5% (one in twenty) probability that the

22   observed difference in the primary variable between the treatment and placebo or other control
23   group is due to chance. The greater the number of variables being analyzed from a single trial,
24   the greater the likelihood of a false positive result, called “Type I error” in statistical parlance,
25   unless corrective statistical techniques are applied. That is, if each statistical test has a 5%
26   chance of producing a false positive, then the overall chances of some false positive amongst
27

28

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1    multiple tests will be much greater than 5%. This is often denoted as the “family-wise Type I
2    error rate,” where “family” refers to the set, or family, of hypotheses being considered.
3           56.     To illustrate, imagine you had a roulette wheel with only 20 pockets in which
4
     the ball could land, instead of the usual 38. Place a bet on any single number – a single
5
     primary variable, if you will – and the odds that the ball will land in the corresponding pocket,
6
     producing a winner, are 1 in 20. Place bets on two numbers – two primary variables, if you
7
     will – and the odds that the ball will land in one of the corresponding pockets, producing a
8
     winner, are 1 in 10, not 1 in 20.
9
            57.     This problem is known generally as “multiplicity.” See ICH Guideline, Section
10
     2.2.5 (“It may sometimes be desirable to use more than one primary variable . . . . The effect on
11
     the Type I error should be explained because of the potential for multiplicity problems (see
12
     Section 5.6); the method of controlling type I error should be given in the protocol.”). As the
13
     ICH Guideline explains:
14

15                  When multiplicity is present, the usual frequentist approach to the
                    analysis of clinical trial data may necessitate an adjustment to the
16                  type I error. Multiplicity may arise, for example, from multiple
                    primary variables (see Section 2.2.2) . . . . Methods to avoid or
17                  reduce multiplicity are sometimes preferable when available, such
                    as the identification of the key primary variable (multiple
18                  variables) . . . . In confirmatory analyses, any aspects of
                    multiplicity that remain after steps of this kind have been taken
19                  should be identified in the protocol; adjustment should always be
                    considered and the details of any adjustment procedure or an
20                  explanation of why adjustment is not thought to be necessary
                    should be set out in the analysis plan. [Section 5.6.]
21
            58.     Testofen was developed by Indus Biotech Pvt. Ltd., which is located in India.
22
     As one Indian medical journal recently explained:
23

24                  In most of the clinical trials published in Indian medical journals
                    multiple end points are measured and hence multiple statistical
25                  tests are used to measure the difference between groups. This may
                    lead to increase in false positivity or Type 1 error. The P value is
26                  based on principal of probability, if with one statistical test the
                    chance of having a significant result is 5%, then after 20 statistical
27                  tests it may be more than 40%. This is called inflation of type 1
                    error. More the number of statistical tests more inflation of Type 1
28                  error. Inflation of type 1 error can be prevented dividing the
                                                     12
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                    endpoints at the design phase itself into primary and secondary
1                   endpoints. Most important endpoint should be considered as
                    primary endpoint and other endpoints should be considered as
2
                    secondary endpoints. If the primary endpoint cannot be
3
                    restricted to one then multiple endpoints should be adjusted
                    with the help of various adjustment methods like Bonferroni
4
                    method, least significant difference test, composite endpoint
                    method etc. In a study . . . done for clinical trials published in
5                   Indian medical journals it was found that about one third of the
                    clinical trials published in four Indian journals were false
6                   positive and statistical methods used to adjust this error was
                    not mentioned in even a single trial.
7
     J. Charan, D. Saxena, Suggested Statistical Reporting Guidelines for Clinical Trials Data, Indian
8
     J Psychol Med 2012 Jan-Mar; 34(1): 25-29 (available at
9
     http://www.ncbi.nlm.nih.gov/pmc/articles/PMC3361838/).
10
            D.      The Bonferroni Correction
11
            59.     The simplest and most commonly used method of making such adjustments is
12
     known as the “Bonferroni correction.” See http://en.wikipedia.org/wiki/Bonferroni_correction.
13
     The correction is based on the observation that, if k tests are being evaluated separately, the
14
     family-wise Type I error rate is at most k times 0.05 if each test uses a standard 0.05
15
     significance level. To obtain an overall significance level for the whole family of tests at a
16
     significance level of 0.05, the Bonferroni correction states that each individual test should be
17
     carried out using a significance level of 0.05/k. See Wright, Adjusted p-values for
18

19
     simultaneous inference, Biometrics, 1992, 1005-1013.

20
            60.     Accordingly, if there are two primary variables or endpoints, applying the

21   Bonferroni correction, the threshold for statistical significance for each of the two variables is

22   0.025 (0.05/2). If there are three primary variables, the threshold for statistical significance for

23   each of the three variables is 0.016 (0.05/3), etc.
24   V.     The Testofen Study
25          A.      The Protocol
26          61.     The protocol for the Testofen Study, entitled “EFFECT OF IND 6 ON
27   MUSCULAR STRENGTH, ENDURANCE AND BODY COMPOSITION,” Project Code:
28

                                                       13
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1    IBHM05/2006, Test Formulation: IND6, dated May 24, 2006, sponsored by INDUS
2    BIOTECH PVT LTD., Principal Investigator: Dr. Sachin Wankhede, Pune (the “Protocol”),
3    identifies it as an “exploratory study,” stating that “This trial, being an exploratory study, no
4
     statistical method is applied to determine the sample size . . . .” (Page 18, Section 9.) “Such
5
     trials cannot be the basis of the formal proof of efficacy.” ICH Guideline, Section 2.1.3.
6
             62.    The Protocol defines the “PRIMARY OBJECTIVES” of the Study as: (a) “To
7
     determine the effects of IND6 [Testofen] on muscle strength and endurance during eight weeks
8
     of resistance exercise;” and (b) “To evaluate safety of the test supplement.” (Page 7, Section
9
     4.1.)
10
             63.    The Protocol states that “Primary efficacy will be assessed on the basis of the
11
     following parameters” of “Muscular Strength and Endurance”: (a) “Change in 1-RM Bench
12
     Press;” (b) “Change in 1-RM Leg Extension;” (c) “Change in Bench Press repetitions at 80%
13
     of 1-RM at baseline;” and (d) “Change in Leg Extension repetitions at 80% of 1-RM at
14

15
     baseline.” (Page 14, Section 8.1.)

16           64.     The Protocol defines the “SECONDARY OBJECTIVES” of the Study as: (a)

17   “To determine the effects of the ingestion of IND6 on muscle size during eight weeks of

18   resistance exercise.” (b) “To determine the effects of the ingestion of IND6 on body

19   composition during eight weeks of resistance exercise.” and (c) “To assess effect of IND6 on
20   serum testosterone (total and free) and prolactin levels.” (Page 7, Section 4.2.)
21           65.    Under the heading “CLINICAL EFFICACY ASSESSMENTS,” the Protocol
22   states that “Secondary efficacy will be assessed on the basis of the following parameters: (a)
23
     Muscle size - (i) Change in thigh: maximal girth, inferior to the gluteal fold, (ii) Change in
24
     flexed arm: maximal girth at mid upper arm, elbow flexed and muscle contracted, (iii) Change
25
     in shoulders: across the maximal protrusion of the deltoids, (iv) Change in chest: mid-tidal
26
     volume;” and (b) “Body Composition – (i) Change in Fat-Free Mass, (ii) Change in Percent
27
     Body Fat, (iii) Change in Fat Mass, and (iv) Change in Body Weight.” (Page 14, Section 8.1.)
28

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1           66.     Under the heading “LABORATORY EFFICACY ASSESSMENTS,” the
2    Protocol states that “Secondary efficacy will be assessed by measuring changes from
3    baseline in serum testosterone (total and free) and prolactin levels after 8 weeks.” (Page
4
     15, Section 8.3.)
5
            67.     Accordingly, as defined by the Protocol, determining the effect of Testofen
6
     on free testosterone levels was not the primary objective of the Testofen Study, but one of
7
     three secondary objectives, and free testosterone levels was not one of four primary
8
     variables noted, but one of at least three (and perhaps as many as ten) secondary
9
     variables.
10
     VI.    The Testofen Study
11
            68.     Gencor has made publicly available three versions of the Testofen Study
12
     purporting to support its claim that Testofen has been clinically proven to increase free
13
     testosterone levels: (1) a version entitled “Testofen Human Clinical Trial,” Copyright 2006 by
14
     Gencor Pacific, Inc. (the “2006 Report”) (Exh. 2); (2) a version entitled “Human Clinical Study
15

16
     for Free Testosterone & Muscle Mass Boosting,” Copyright 2008 by Gencor Nutrients, Inc.

17   (the “2008 Report”) (Exh. 3); and (3) a duplicate of the 2008 Report, Copyright 2013 by GE

18   Nutrients, Inc. (Exh. 4).

19          69.     Gencor has also provided Plaintiffs’ counsel with: (a) an undated and

20   unpublished manuscript concerning the Testofen Study entitled “Beneficial effects of
21   fenugreek glycosides supplementation in weight resistance trained male subjects: A
22   prospective, double-blind, randomized, placebo controlled study” (the “Manuscript”); and (b)
23   an Excel spreadsheet containing the individual data points for the 60 subjects enrolled in the
24
     Testofen Study (the “Study Data”).
25
            A.      The 2006 Report
26
            70.     The 2006 Report identifies the Testofen Study as an exploratory study
27
     “designed to explore the efficacy and safety of TESTOFEN in healthy male volunteers,” and
28

                                                     15
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1    states that “Primary objectives of the study were to determine the effects of TESTOFEN on
2    free testosterone and body composition during eight weeks of resistance exercise and to
3    evaluate safety of TESTOFEN.” (Page 2.)
4
            71.     As set forth above, effect on body composition and free testosterone levels
5
     were secondary, not primary objectives of the Testofen Study, and secondary, not
6
     primary variables. The primary objective of the Testofen Study, to determine the effects
7
     of Testofen on muscle strength and endurance, and the primary efficacy measures (see
8
     Paragraph 63, above) are not mentioned in the 2006 Report.
9
            72.     The 2006 Report shows pre-treatment and post-treatment free testosterone
10
     levels for the Testofen group, but makes no claim of statistical significance.
11
            73.     In addition to body composition measures, the 2006 Report presents blood urea
12
     nitrogen (“BUN”) levels as a third variable.
13
            74.     Under the heading “Safety,” the 2006 Report lists 20 “biochemical parameters
14

15
     [that] were analyzed for the active and placebo groups,” including “Creatinine” and

16   “Lymphocytes,” and states that “All of the parameters were normal for all participants.”

17          B.      The 2008 Report

18          75.     The 2008 Report identifies the “PRIMARY CLINICAL END POINTS” of the

19   Testofen Study as “To determine the effect of TESTOFEN on Safety, Anabolic Activity, Blood

20   Testosterone, Immune Function,” and the “SECONDARY CLINICAL END POINTS” as “To
21   determine the effects of TESTOFEN on body composition, Creatinine, Prolactin, and Muscle
22   mass variation.” [Page 3.]
23          76.     The 2008 Report states that:
24                  Primary efficacy was assessed on the basis of following parameters:
25
                            I.     Anabolic Activity by Nitrogen Absorption
26                                 measured by BUN
                            II.    Blood testosterone both Total and Free
27                          III.   Total Lymphocyte count and check immunity.
                                   [Page 8.]
28

                                                     16
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1           77.      The 2008 Report states that:
2                    Secondary efficacy will be assessed on the basis of following parameters:
3
                        1. Exercise Physiology Biomarkers
4
                           • Serum Creatinine
                           • Serum Prolactin
5
                        2. Body Composition
6                          • Change in Fat-Free Mass
                           • Change in Percent Body Fat
7                          • Change in Fat Mass
                           • Change in Body Weight
8
                        3. Muscle size
9                          • Change in thigh: maximal girth, inferior to the gluteal
                             fold.
10                         • Change in flexed arm: maximal girth at mid upper arm,
                             elbow flexed and muscle contracted.
11                         • Change in shoulders: across the maximal protrusion of
                             the deltoids.
12
                           • Change in chest: mid-tidal volume. [Page 8.]
13          78.     As set forth above, the effect on free testosterone levels was a secondary,
14
     not primary objective of the Testofen Study, and free testosterone levels was one of
15
     numerous secondary variables. The primary objective of the Testofen Study, to
16
     determine the effects of Testofen on muscle strength and endurance, and the primary
17
     efficacy measures (see Paragraph 63, above) are not mentioned in the 2008 Report.
18
            79.     The 2008 Report presents the results for the three purported “primary efficacy
19
     parameters,” BUN, free testosterone, and lymphocytes, followed by the results for the
20
     purported “secondary efficacy parameters” creatinine, prolactin, body composition (three sub-
21
     measures), and muscle size (four sub-measures). No results are presented for total
22
     testosterone, despite its inclusion in the list of “primary efficacy parameters.”
23

24
            80.      The 2008 Report presents the following results for free testosterone (pg/ml):

25                   PARAMETERS           TESTOFEN         PLACEBO
                     Pre Treatment        17.76            21.30
26                   Post Treatment       35.29            31.70
                     P value              0.0001           0.014
27                   Percentage           96               48      P Value < 0.05
                     change
28

                                                      17
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1           81.     Beneath these figures, the 2008 Report states:
2                   Although there is increase in both groups TESTOFEN group
                    increase is double of Placebo. After adjusting for plasma changes
3                   it is significant. (p < 0.05). Thus TESTOFEN group has shown
                    significant increase with respect to base line (p < 0.0001) and with
4
                    respect to placebo (p < 0.05). [Page 9.]
5           82.     The 2008 Report concludes that the results are statistically significant as to each
6
     of the three falsely-identified primary variables, as well as two of the four purported secondary
7
     variables, as follows:
8
                    1.        TESTOFEN group has demonstrated significant anabolic
9                             activity as evidenced by BUN reduction (p<0.05) compared
                              to placebo.
10
                    2.        TESTOFEN group has significant increase in Free
11                            Testosterone (p<0.05) compared to Placebo.

12                  3.        TESTOFEN group has not only compensated the loss of
                              Immunity significantly compared to Placebo (p<0.003), but
13                            has also increased immunity.
14                  4.        TESTOFEN group has shown significant reduction in
                              Serum Creatinine levels (p<0.02) compared to placebo
15                            signifying Creatine uptake and recycle in muscle cell.
16                  5.        TESTOFEN group has shown significant increase in
                              Prolactin compared to Placebo (p<0.04). However this
17                            increase is within Physiological limits for men. [Page 11
                              (emphasis added).]
18
            83.     These claims of statistical significance include a number of measures not
19
     identified as either primary or secondary variables in the Protocol. Under the heading
20
     “LABORATORY SAFETY ASSESSMENTS,” the Protocol provides:
21
                    The Laboratory safety will be evaluated by recording routine
22
                    laboratory test including biochemistry, haematology, and urinalysis
23
                    tests at the initiation of treatment at the end of treatments. (Hb,
                    WBC: total and differential count, RBC count, platelet count, ESR,
24                  total bilirubin, SGOT, SGPT, alkaline phosphatase, LDH, serum
                    proteins, urinalysis, blood urea nitrogen and creatinine) (Page 15,
25                  Section 8.4.)

26
     This section follows, and is separate from, the section entitled “LABORATORY EFFICACY

27
     ASSESSMENTS,” clearly differentiating between the two.

28

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1           84.     The 2008 Report states that “Primary efficacy was assessed on the basis of the
2    following parameters: I. Anabolic Activity by Nitrogen Absorption measured by BUN” (Page
3    8), and that “TESTOFEN group has demonstrated significant anabolic activity as evidenced by
4
     BUN reduction (p < 0.05) compared to placebo.” (Page 11, Conclusion 1.) BUN is not
5
     identified as either a primary or secondary efficacy measure in the Protocol, but as the
6
     thirteenth of fourteen “routine laboratory test(s).” Thus, the 2008 Report represents that a
7
     “routine laboratory test” performed for safety was instead the first of three primary efficacy
8
     measures.
9
            85.     The 2008 Report represents that the other two primary efficacy measures are
10
     “II. Blood Testosterone both Total and Free” (discussed above), and “III. Total Lymphocyte
11
     count and check immunity.” (Page 8.) The 2008 Report states that “Testofen has a significant
12
     increase in Lymphocytes with respect to Placebo (p < 0.03)” (Page 9), from which the
13
     author(s) concludes that “TESTOFEN group has not only compensated the loss of Immunity
14

15
     significantly compared to Placebo (p < 0.003), but has also increased immunity.” (Page 11,

16   Conclusion 3.) There is no mention of lymphocyte count in the Protocol, as either a primary or

17   secondary variable of interest, or even as one of the fourteen enumerated “routine laboratory

18   tests.” Lymphocytes are but one of the five types of white blood cells counted in the

19   differential white blood cell (WBC) “routine laboratory test” called for by the Protocol. See
20   http://www.nlm.nih.gov/medlineplus/ency/article/003657.htm.
21          86.     The 2008 Report identifies as a “SECONDARY CLINICAL END POINT” “To
22   determine the effects of TESTOFEN on . . . Creatinine, . . .” (Page 3); states that “Secondary
23
     efficacy will be assessed on the basis of 1. Exercise Physiology Biomarkers – Serum
24
     Creatinine” (Page 8); and that “TESTOFEN group has shown significant reduction in Serum
25
     Creatinine levels (p < 0.02) compared to placebo signifying Creatinine uptake and recycle in
26
     muscle cell.” (Page 11, Conclusion 4.) Creatinine is not identified as either a primary or
27

28

                                                     19
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1    secondary efficacy measure in the Protocol, but as the last of fourteen “routine laboratory
2    test(s).”
3            87.    The 2008 Report concludes that “TESTOFEN group has shown significant
4
     increase in Prolactin compared to Placebo (p < 0.04).” (Page 11, Conclusion 5.). Prolactin is
5
     identified in the Protocol as a secondary outcome measure.
6
             88.    Thus, none of the first five claims of statistical significance made in the
7
     2008 Report (BUN, free testosterone, lymphocyte count, creatinine, and prolactin) are
8
     identified as primary outcome measures in the Protocol; two (BUN and creatinine) are
9
     not identified as primary or secondary outcome measures, but as the thirteenth and
10
     fourteenth of fourteen “routine laboratory tests” which the Protocol itself expressly
11
     distinguishes from “laboratory efficacy assessments;” and one (lymphocyte count) is not
12
     mentioned in the Protocol at all.
13

14           C.     The Manuscript

15
             89.    The Manuscript identifies the aim of the Testofen Study as determining the

16   “efficacy and safety [of Testofen] on physiological parameters related to muscle anabolism,

17   androgenic hormones and body composition . . . .” (Page 1.)

18           90.    The Manuscript identifies the “efficacy outcome measures of study” as

19   “markers of anabolic activity (serum creatinine and blood urea nitrogen (BUN) to measure
20   nitrogen metabolism), body composition (skinfold thickness and % body fat), male androgenic
21   hormone profile (total and free testosterone levels in blood), muscular strength and endurance
22   (bench press and leg press) . . . .” (Page 6, Section 2.4.) The Manuscript makes no
23
     distinctions whatsoever between primary or secondary objectives of the Testofen Study,
24
     or between primary and secondary efficacy measures. Indeed, neither the word “primary”
25
     nor “secondary” appears in the Manuscript. The Protocol classifies creatinine and BUN as
26
     “routine laboratory tests,” not efficacy measures.
27

28

                                                     20
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1           91.     As to the primary objective identified in the Protocol, effect on muscle strength
2    and endurance, the Manuscript concludes that “no statistically significant difference [was]
3    found between 1 RM-bench press, and or muscle endurance (Maximum repetitions) in leg
4
     press and bench press exercises.” (Page 7, Section 3.2.)
5
            92.     The Manuscript also concludes that “The change in total testosterone from
6
     baseline was . . . not significant between the treatment groups.” (Page 7, Section 3.3.)
7
            93.     As to the effect of Testofen on free testosterone levels, the Manuscript states
8
     that “The change in free testosterone from baseline (Fenu-FG: 17.53 ± 8.55; Placebo: 10.39 ±
9
     14.71) was found significant between the groups at P < 0.05.” (Page 7.)
10
            94.     The following table summarizes Gencor’s shifting identification of the primary
11
     variables, secondary variables, and routine laboratory (i.e., safety) tests, involved in the
12
     Testofen Study:
13

14           Document    Primary Variable(s) Secondary Variables               Safety
             Protocol    Muscle Strength     Muscle Size                       WBC
15                       and Endurance       (4 sub-measures)                  BUN
                                             Body Composition                  Creatinine
16                                           (4 sub-measures)
                                             Total testosterone
17                                           Free testosterone
                                             Prolactin
18           2006 Report Free testosterone   BUN                               Creatinine
                         Body Composition                                      Lymphocytes
19                       (2 sub-measures)
20
             2008 Report BUN                         Creatinine
21
                         Total testosterone          Prolactin
                         Free testosterone           Body Composition
22                       Lymphocytes                 (3 sub-measures)
                                                     Muscle Size
23                                                   (4 sub-measures)

24           Manuscript     Creatinine
                            BUN
25                          Body Composition
                            (2 sub-measures)
26                          Total testosterone
                            Free testosterone
27                          Muscle Strength
                            and Endurance
28

                                                      21
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1              95.   Gencor’s deliberate manipulation of the identification of primary and secondary
2    variables after unblinding of the data constitutes scientific fraud of the highest order, and is
3    compelling evidence of the Gencor Defendants’ intent to defraud Plaintiffs and the Class by
4
     falsely representing that Testofen has been clinically proven to increase free testosterone
5
     levels.
6
               D.    The Results Are Not Statistically Significant
7
               96.   Plaintiffs have retained Professor Nicholas P. Jewell, a Professor of Biostatistics
8
     at the University of California, Berkeley, to determine whether Testofen has been clinically
9
     proven to increase free testosterone levels. Professor Jewell is the author of the textbook
10
     “Statistics for Epidemiology” (Chapman and Hall, New York 2003), as well as approximately
11
     160 peer-reviewed articles in the field of biostatistics, and recently served as Chair of the
12
     Section on Statistics in Epidemiology of the American Statistical Association (2009-2012).
13
               97.   Professor Jewell’s expert report is attached as Exhibit 5. Professor Jewell has
14
     determined that Testofen has not been clinically proven to increase free testosterone levels, and
15

16
     that Defendants’ claims to the contrary are false. In making this determination, Professor

17
     Jewell reviewed the Protocol, the 2006 Report, the 2008 Report, the Manuscript, and the Study

18   Data. (Exh. 5 ¶ 7.)

19             98.   Professor Jewell summarized his conclusions as follows:

20                   According to the Protocol, determining the effect of Testofen on
                     free testosterone levels was not the primary objective of the Study,
21                   and change in free testosterone levels was not included as one of at
                     least twelve primary outcome variables, but rather one of at least
22                   three secondary outcome variables. Under universally accepted
                     principles of statistical analysis, the threshold for statistical
23                   significance must be adjusted upward to reflect this multiplicity of
                     comparisons. After making required adjustments, the results are
24                   not statistically significant with regard to free testosterone as
                     claimed, regardless of the particular method of adjustment
25
                     employed. Accordingly, the Claim is false. (Exh. 5 ¶ 8, emphasis
26
                     added.)
               99.   In particular, Professor Jewell explains that:
27

28

                                                       22
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                      A set forth above, in addition to the measurement and comparison
1                     of total and free testosterone, the Study includes primary efficacy
                      measures of “muscular strength and endurance” (four sub-
2
                      measures), and secondary efficacy measures of “muscle size” (four
3
                      sub-measures), “body composition” (four sub-measures), and
                      prolactin. Assuming, arguendo, that each of these sub-measures
4
                      were perfectly correlated with one another, and that total
                      testosterone, free testosterone, and prolactin levels were perfectly
5                     correlated (which is clearly not the case, as change in total
                      testosterone levels is not significant even absent correction), the
6                     Bonferroni corrected significance level for each individual test
                      would be 0.05/4 = 0.0125. Even with these heroic assumptions,
7                     the nominal p-value of 0.030 demonstrated here, associated with
                      comparing free testosterone changes across the Testofen and
8                     Placebo groups, is not statistically significant.
9                     While there are other, more sophisticated (and less conservative)
                      methods to adjust for the problem of multiplicity, which may take
10                    into account the degree of correlation among the variables of
                      interest, none produces a statistically significant result here for
11                    comparison of free testosterone changes across the two treatment
                      groups. (Exh. 5 ¶¶ 48-49, emphasis added.)
12
               100.   As Professor Jewell explains in the appended Supplemental Statement:
13
                      As stated in my Report, my “opinions, contained herein, are all
14                    stated to a reasonable degree of scientific certainty,” although I
                      “reserve[d] the right to supplement this preliminary report if new,
15
                      or significantly modified, quantitative information is provided at
16
                      any point.” (Report, para. 5.) It has been over a year since Gencor
                      received my Report, but no “new or significantly modified
17
                      quantitative information” has been provided. As my analysis was
                      conducted on what Gencor represented was the full data set (the
18                    “Data”), I have no reason to believe that any such new or modified
                      quantitative information exists. My Report is and has been final,
19                    absent such new or modified information. (Exh. 5, Supplemental
                      Statement ¶ 2.)
20
               101.   In his Supplemental Statement, Professor Jewell reiterates his conclusion that
21
     “Gencor’s claim that Testofen produced a statistically significant increase in free
22
     testosterone levels in a clinical trial is false.” (Exh. 5, Supplemental Statement ¶ 5, emphasis
23
     added.)
24
     VII.      Other Negative Studies
25
               102.   In addition to the Testofen Study, at least three other studies sponsored by Indus
26
     Biotech have found that fenugreek extract has no effect on free testosterone levels.
27

28

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1           103.    A human clinical trial conducted in Australia comparing Testofen to placebo
2    found that Testofen “did not affect testosterone” levels. E. Steels, et al., Physiological Aspects
3    of Male Libido Enhanced by Standardized Trigonella foenum-graecum Extract and Mineral
4
     Formulation, Phytotherapy Res. 25: 1294-1300 (2011) (Exh. 6).
5
            104.    Another study, sponsored by Indus Biotech, concluded that fenugreek extract
6
     has no effect on free testosterone levels:
7
                    Despite no substantiated claims in human research models,
8                   fenugreek has been marketed in dietary products as having
                    anabolic potential for resistance trained athletes. . . . The purpose
9                   of this study was to investigate the potential anabolic effects of
                    fenugreek extract supplementation in conjunction with a controlled
10                  resistance training program. . . . No significant effects for groups
                    or interactions were observed for the anabolic hormone[] free
11                  testosterone . . . (p<0.05). . . . [S]upplementation of fenugreek
                    extract does not appear to affect hormonal status in resistance
12                  trained males and shows no anabolic potential as has been
                    purported. This study was supported by INDUS BIOTECH.
13
     B. Bushey, et al., Fenugreek Extract Supplementation Has No Effect on the Hormonal Profile of
14
     Resistance-Trained Males, Int. J. Exerc. Sci. 2(1): S13, 2009 (Exh. 7).
15
            105.      Another study, also sponsored by Indus Biotech, also concluded that fenugreek
16
     extract has no effect on free testosterone levels. See C. Poole, et al., Effects of TESTOSURGE
17

18
     supplementation on strength, body composition and hormonal profiles during an 8-week

19
     resistance training program, J. Int. Soc. Sports Nutrition 2009, 6(Suppl. I): P12 (“No

20   significant changes were detected among groups for . . . free testosterone”) (Exh. 8).

21          106.    Yet another study, also sponsored by Indus Biotech, found a significant

22   difference in free testosterone levels between the group taking fenugreek extract and the
23   placebo group, but the difference was in favor of the placebo group, whose free testosterone
24   levels rose by an average of 10 ng/ml over the course of the study, compared to the fenugreek
25   group, whose free testosterone levels declined by an average of 4 ng/ml. C. Poole, et al., The
26   effects of a commercially available botanical supplement on strength, body composition, power
27
     output, and hormonal profiles in resistance-trained males, J. Int. Soc. Sports Nutrition 2010,
28

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1    7:34 (Table 5) (Exh. 9). Rather than finding a negative effect on free testosterone levels, the
2    study concluded that fenugreek extract has no effect:
3                   Fenugreek supplementation is surrounded by assertions of having
                    anabolic potential, even though there is no scientific data
4
                    supporting this notion. In the present study we examined serum
5
                    hormone variables that included free testosterone . . . . Although a
                    between group difference was noted for free testosterone at T2 and
6                   T3, it has limited relevance due to the fact that it did not
                    significantly change over time. . . . [D]aily consumption of the 500
7                   mg commercially available [fenugreek] supplement in conjunction
                    with a resistance training program has no anabolic effect on the
8                   hormonal status of resistance trained males. [Page 8.]

9    VIII. False Representations Concerning “Testosterone Boosters”

10          107.    Despite the fact that Testofen has not been shown to increase free testosterone

11   levels, and the existence of four published studies showing that it has no such effect, more than

12   20 products containing Testofen are marketed and sold as clinically proven “testosterone
13   boosters.” False representations concerning each of these products are set forth below.
14          A.      Nugenix
15                  1.      Label and Packaging
16          108.    The label affixed to the product Nugenix Natural Testosterone Booster
17   (“Nugenix”) (Exh. 10) states that “Nugenix is an all natural Testosterone booster that contains
18   clinically studied ingredients that are proven to boost free testosterone levels.”
19
            109.    The box in which Nugenix is packaged (Exh. 11) states:
20
                    RECLAIM YOUR STRENGTH, STAMINA, AND SEXUAL
21
                    PERFORMANCE . . .

22
                    As you age testosterone levels can decrease, resulting in lowered
                    muscle mass and decreased libido. All natural Nugenix helps your
23                  body restore testosterone levels . . . . Clinical studies have shown
                    Testofen to increase free testosterone levels by over 98%.
24
            110.    The box contains a bar graph entitled “TESTOSTERONE DECLINE,” showing
25
     a steady decline in “TESTOSTERONE LEVELS” from age 20 to age 70. Beneath this bar
26
     graph, the box states: “After age 30, most men begin to experience a gradual decline in
27
     testosterone. Nugenix helps fight this decline.”
28

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                     2.      Website
1
             111.    The website www.nugenix.com is owned by defendant Direct Digital. The
2
     website (Exh. 12) states:
3

4
                     BOOST YOUR FREE TESTOSTERONE NOW

5                    Our developers formulated NUGENIX to provide high levels of
                     TESTOFEN...the key to boosting free testosterone.
6
                     Nugenix Testosterone Booster is a safe and specially formulated
7                    dietary supplement that helps your body increase its free
                     testosterone.
8
                     BOOST YOUR TESTOSTERONE NOW
9                    Our Cambridge developers formulated Nugenix to provide some of
                     the highest levels of Testofen … the Key to Natural Testosterone
10                   production.
11                   STUDIES AND TESTS SHOW THE MAIN
                     INGREDIENT IN NUGENIX IS EFFECTIVE
12

13
                     Testofen Studies in Irvine, California and Queensland, Australia
                     produced the following results.
14
                     •    Significant increase in natural testosterone compared to
15                        placebo test group.

16                   And remember, our Cambridge developers created the blend for
                     Nugenix with the clinically proven dosage of Testofen for great
17                   results . . . .
18           B.      Troxyphen
19                   1.      Label and Packaging

20           112.    The label and packaging for Troxyphen (Exh. 13) describe it as “A unique

21   [weight loss] supplement designed to specifically address the underlying cause of male weight

22   gain: LOW TESTOSTERONE,” and state that it contains “INGREDIENTS SHOWN TO
23   HELP: RAISE TESTOSTERONE.” The remainder of the packaging is devoted to drawing a
24   link between “Low Testosterone and Excess Fat,” and states that Troxyphen is “designed to
25   specifically address the underlying cause of male weight gain. By naturally and significantly
26   increasing your base line testosterone levels . . . .”
27

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1            113.     The label and packaging for Troxyphen Elite (Exh. 14) state that it is “A
2    Powerful Free Testosterone Booster” containing “INGREDIENTS SHOWN TO HELP:
3    RAISE FREE TEST LEVELS,” and that “TROXYPHEN ELITE helps to increase your free
4
     testosterone levels . . . .”
5
                      2.      Radio
6
             114.     Troxyphen is the subject of a national radio advertising campaign, on both
7
     broadcast and satellite radio, including stations such as CNN. The radio commercial, which
8
     has aired thousands of times, states that “Troxyphen is GNC’s best-selling, 100% natural and
9
     most powerful testosterone booster. Troxyphen raises testosterone . . . .” The commercial
10
     states that “Troxyphen is available nationwide at GNC stores,” and also directs listeners to the
11
     website, “stoplowt.com” or “raisemytest.com.”
12
                      3.      Websites
13
             115.     The websites stoplowt.com and raisemytest.com (which is redirected to the
14
     website www.troxyphen2.com) (Exh. 15) state:
15

16
                              TROXYPHEN
                              ADVANCED TESTOGENIC
17
                              TESTOSTERONE BOOSTING THERMOGENIC

18                            TROXYPHEN IS AN ADVANCED SUPPLEMENT
                              DESIGNED TO BOOST FREE TESTOSTERONE
19                            LEVELS

20                            TESTOSTERONE INCREASED 98%
21                            By naturally and significantly increasing your base line
                              testosterone levels . . .
22
                              TROXYPHEN IS SAFE & CLINICALLY RESEARCHED
23                            TROXYPHEN was developed around the clinically
                              researched and patented Testofen.
24
                              TESTOSTERONE BOOSTING BLEND
25
                              The patented test boosting blend was shown in clinical
26
                              studies to:
                              RAISE TESTOSTERONE LEVELS 98.81% IN 8 WEEKS
27
                              TESTOFEN
28

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                            Testofen is a natural solution for promoting Healthy Free
1                           Testosterone levels . . .
2
                            THE CHOICE IS YOURS!
3
                            DO NOTHING AND GET
                            Lowering Testosterone Levels
4
                            PICK TROXYPHEN AND ENJOY
5                           Increased Testosterone Levels by 98%

6           C.      Ageless Male

7
                    1.      Label and Packaging
            116.    The label and packaging for Ageless Male (Exh. 16) state that it has been
8

9
     “Clinically Shown to Increase Free Testosterone Levels,” and contains “Ageless Male

10   Proprietary Blend Testofen,” which “has been shown in a human clinical study to help support

11   healthy free testosterone levels.”

12                  2.      Television
13          117.    A 60-second television commercial for Ageless Male, available at

14   http://www.ispot.tv/ad/7nXX/ageless-male-giveaway, has aired nationally 4,695 times,
15   including on April 1, 2014 at 10:30 a.m. PST on SYFY. The commercial states that “Ageless
16   Male has ingredients clinically shown to increase free testosterone levels,” and directs viewers
17   to the website AgelessMaleFree.com.
18
            118.    A 120-second television commercial for Ageless Male, available at
19
     http://www.ispot.tv/ad/77kP/ageless-male-over-40, has aired nationally 2,164 times, including
20
     on November 29, 2013 at 11:57 a.m. PST on IFC. The commercial states that Ageless Male is
21
     “clinically shown to help increase testosterone levels,” and directs viewers to the website
22
     TryAgelessMale.com
23
            119.    A 121-second television commercial for Ageless Male, available at
24
     http://www.ispot.tv/ad/7nXh/ageless-male-featuring-walt-frazier, has aired nationally 324
25
     times, including on December 23, 2013 at 2:42 a.m. PST on Smithsonian. The commercial
26
     states that Ageless Male’s “active ingredient is clinically shown to boost free testosterone,” and
27
     features Darren Clair, M.D., an Age Management Specialist, who states that “[t]he great thing
28

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1    about Ageless Male is it increases your free testosterone, and that’s what you want.” The
2    commercial directs viewers to the website MyFreeAgeless.com.
3           120.    A 60-second television commercial for Ageless Male, available at
4
     http://www.ispot.tv/ad/7OSr/ageless-male-signs, has aired nationally 21 times, including on
5
     July 29, 2013 at 2:28 a.m. PST on Discovery. The commercial states that “Ageless Male is
6
     made with natural ingredients clinically shown to help boost free testosterone levels,” and
7
     directs viewers to the website AgelessMaleFree.com.
8
                    3.     Websites
9
            121.    The website www.newvitality.com is owned by defendant NAC. The website
10
     (Exh. 17) states that Ageless Male is “Our Best Selling Formula to Boost Healthy Free
11
     Testosterone Levels, and describes the product as “The game-changing free testosterone
12
     booster for men!” Under the heading “Ageless Male Benefits,” the website states “Boost
13
     Healthy Free Testosterone Levels.”
14
            122.    Under the heading “About Ageless Male,” the website states that:
15

16                  Testosterone is Vital for the Health of Any Man
                    Perhaps more than any other hormone, testosterone defines who a
17                  man is and supports his wellbeing. That’s why it’s so important for
                    men to maintain healthy testosterone levels. The key ingredients in
18                  Ageless Male have been clinically-shown to help do just that by
                    supporting free testosterone levels.
19
                    Boost Free Testosterone Naturally… and More!
20                  Ageless Male contains an ingredient derived from the Fenugreek
                    herb called Testofen – shown in a human clinical study to
21                  significantly help boost free testosterone (the most important form
                    of testosterone which is available for immediate use by the body)
22                  in men.
23          123.    Under the heading “FAQs,” the website states:
24
                    Q. Why should I consider Ageless Male?
25
                    A. Shown to be safe with no major side effects, Ageless Male
26                  contains a key ingredient shown in published research to help
                    significantly boost free testosterone in men.1
27
                    Q. What can I expect Ageless Male to do for me?
28

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                     A. You can expect Ageless Male to help boost your free
1                    testosterone levels with correct use.
2
                     Q. What is the key ingredient in Ageless Male?
3
                     A. It’s a natural component professionally derived from the
4
                     fenugreek herb. A double-blind, randomized, placebo-controlled
                     human clinical study on this ingredient has shown it can
5                    significantly help boost free testosterone in men.1

6
     Footnote 1 to the FAQs cites the “published research” and “clinical study” as “Effect of

7
     TESTOFEN on safety, anabolic activity and factors affecting Exercise Physiology. Wankhede et.

8
     al.”

9
              124.   The website www.ageless-male.com is owned by defendant NAC. Visitors to

10   TryAgelessMale.com and AgelessMaleFree.com are redirected to www.ageless-male.com, and

11   visitors to MyFreeAgeless.com are presented with the same content.

12            125.   The website (Exh. 18) bills the product as “Ageless Male NATURAL FREE
13   TESTOSTERONE BOOSTER,” and states that “Ageless Male has clinically-tested ingredients
14   shown to: Boost healthy free testosterone levels.” The website states:
15
                     An Exciting Breakthrough
16
                     The makers of Ageless Male know the importance of having the
                     right testosterone support as you age. That’s why they’ve
17
                     combined some of the best, clinically-researched ingredients in one
                     distinct formula to help men significantly increase free testosterone
18                   levels.

19                   How Does it Work?
                     Testosterone is what ultimately makes a man “a man.” But did you
20                   know free testosterone (the kind available for immediate use in the
                     body) may be the most important type? Ageless Male is made
21                   with an ingredient derived from the Fenugreek herb called
                     Testofen– shown in a human clinical study to significantly help
22                   boost free testosterone levels.1
23            126.   Under the heading “Frequently Asked Questions,” the website contains the
24   same representations as the “FAQs” section of the www.newvitality.com website quoted
25   above.
26

27

28

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            D.      Test X180
1
                    1.      Label and Packaging
2
            127.    The label and packaging for Test X180 Testosterone Booster (“Test X180”)
3
     (Exh. 19) contain the following “Product Information”:
4

5
                    How do you safely increase testosterone levels? Well-researched
                    ingredients are the answer, which is why the experts at Force
6                   Factor formulated Test X180 with premium, clinically supported
                    compounds like Testofen. There’s no reason to take a chance on
7                   unsafe, sketchy supplements. The ingredients in our proprietary
                    blend are substantiated with rigorous research and hard, scientific
8                   facts – the same smart science behind the entire line of Force
                    Factor products.
9
            128.    Under the heading “Test X180 Science,” the label and packaging state that:
10
                    The experts at Force Factor carefully formulated Test X180 to
11                  provide the boost that every man needs. By naturally raising your
                    levels of free testosterone . . . .
12
                    Each serving of Test X180 contains clinically researched levels of
13
                    Testofen . . . . Testofen is the well-known, effective compound
14
                    your body needs to combat natural testosterone decline.

15
                    There’s no need to take a chance on your health with untested,
                    risky ingredients. Look and feel confident while you perform at
16                  your peak with the trusted ingredients in Test X180.

17
            129.    The label and packaging for Test X180 Alpha (Exh. 20) call the product “THE

18   PREFERRED TESTOSTERONE BOOSTER OF ELITE MEN;” state that “the natural

19   ingredient Testofen is clinically demonstrated to raise your body’s free testosterone levels;”

20   and state that “The Force Factor team perfected the Test X180 Alpha formula with one of the
21   only natural ingredients clinically demonstrated to increase free testosterone levels: Testofen.”
22   The label and packaging for Test X180 Ignite (Exh. 21) state that the product “was developed
23   to be the ultimate all-in-one free testosterone booster, using safe, trusted ingredients backed by
24   real science. Test X180 Ignite is fueled by Testofen . . . .”
25

26

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                   2.      Website
1
            130.   The website www.forcefactor.com is owned by defendant Force Factor. The
2
     website (Exh. 22) contains the same representations regarding Test X180, Test X180 Alpha,
3
     and Test X180 Ignite quoted above, and states that:
4

5                  You’re probably asking: “How do I safely increase my testosterone
                   levels?” Well-researched natural testosterone boosters are the
6                  answer. That’s how the experts at Force Factor formulated Test
                   X180 – with premium, clinically supported compounds like
7                  Testofen that will pump up your testosterone to superhero levels as
                   part of your workout routine.
8
                   Test X180 is backed by smart science, not fly-by-night sketchy
9                  “science.” There’s no reason to risk your health and your life with
                   disreputable natural solutions. It’s just not worth it.
10
                   NATURAL TESTOSTERONE BOOSTER
11                 CLINICALLY RESEARCHED INGREDIENTS
12
                   HOW TEST X180 WORKS
13
                   When taken along with regular exercise, Test X180 works with
                   your body to naturally raise your levels of free testosterone. It
14                 doesn’t contain any mysterious substances – only premium,
                   rigorously researched, natural ingredients.
15
                   STEP ONE
16                 Test X180 permeates the bloodstream

17                 STEP TWO
                   Testofen goes to work raising your levels of free testosterone.
18
                   SERIOUSLY POWERFUL INGREDIENTS
19                 The ingredients in our proprietary blend are substantiated with
                   rigorous research and hard, scientific facts.
20
                   TESTOFEN
21
                   This clinically researched natural fenugreek seed extract has been
                   shown to help men add hard, sculpted muscle to their bodies by
22
                   increasing their levels of free testosterone safely and effectively.
23
            E.     High T
24                 1.      Label and Packaging
25          131.   The label and packaging for High T Testosterone Booster (“High T”) (Exh. 23),
26   High T Senior Testosterone Booster (“High T Senior”) (Exh. 24), and High T Black Hardcore
27
     Formulation Testosterone Booster (“High T Black”) (Exh. 25) contain a graph entitled “Male
28

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1    Testosterone Production With Age,” showing a steady decline in “Testosterone Production
2    Capacity %” from age 20 to age 90, and state that “High T has been clinically proven to boost
3    free Testosterone levels . . . .” The label and packaging for High T Black Caffeine Free
4
     Hardcore Formulation Testosterone Booster (“High T Caffeine Free”) (Exh. 26) contains the
5
     same graph in another format, and states that “High T has been scientifically formulated to
6
     help Testosterone levels . . . .”
7
                     2.      Websites
8
             132.    The website www.hightproducts.com is owned by defendant KingFisher. The
9
     website (Exh. 27) states that High T “boosts testosterone naturally” by increasing
10
     “Testosterone levels,” and that Testofen “improves testosterone levels” and “helps promote
11
     healthy testosterone levels.” The website states that High T Senior “is scientifically formulated
12
     to benefit a man’s health by improving . . . . Testosterone levels,” and states that the product
13
     will “BOOST YOUR TESTOSTERONE LEVELS TODAY By increasing your testosterone
14
     levels . . . .” The website states that “High T Black has been clinically proven to boost free
15

16
     testosterone levels.”

17
             133.    Under the heading “Science Report” (Exh. 28), the website states that “Key

18   ingredients in High T have been clinically proven to boost free testosterone levels,” and that

19   “High T Black has been clinically proven to boost free testosterone levels.”

20           F.      Mdrive
21                   1.      Label and packaging

22           134.    The label and packaging for Mdrive (Exh. 29) state:

23                   M drive
                     naturally increase testosterone
24
                     *Contains a clinically proven ingredient which promotes free
25                   testosterone
26
                     M-Drive contains Testofen – a Fenugreek Seed Extract clinically
27
                     proven to promote healthy free testosterone levels . . . .

28

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                    Ingredients in M-Drive have been shown to increase testosterone
1                   levels . . . .
2
                    *A clinical study of Testofen revealed that it promoted healthy free
3
                    testosterone levels in the active group of subjects by 98%.
            135.    A package insert (Exh. 30) states:
4

5                   You are, no doubt, aware that very few male performance products
                    actually work as advertised. Mdrive is different. It is backed by
6                   legitimate science and formulated with a clinically proven
                    ingredient.
7
                    Our star ingredient is a very specific Fenugreek Seed Extract
8                   called Testofen . . . . A clinical study of Testofen revealed that it
                    promoted healthy free testosterone levels.
9
            136.    The label and packaging for Mdrive Elite Athlete Formula (“Mdrive Elite”)
10
     (Exh. 31) state that the product is an “Energizing Testosterone Booster” containing “Clinically
11
     Tested Ingredients,” “Promotes healthy free testosterone levels within the normal range,” and
12
     “naturally increases healthy free testosterone levels.” Under the heading, “clinically tested
13
     ingredients. At the clinical levels,” the label and packaging state:
14

15                 Increase Testosterone
                   Testofen’s clinical results confirmed a boost in free testosterone
16                 levels in men . . . .

17          137.    A package insert (Exh. 32) states:

18                  Boost Free Testosterone
                    Mdrive Elite contains Fenugreek Seed Extract which has been
19                  shown in clinical studies to raise free testosterone levels . . . .
20                  2.      Television
21          138.    A thirty-second television commercial for Mdrive, available at

22   http://www.ispot.tv/ad/7ZNs/mdrive, has aired nationally 67 times, including on February 23,
23   2014 at 11:48 a.m. PST on NBA TV. The commercial, which also features the GNC logo,
24   states that “Mdrive is formulated for guys . . . who crave more . . . free testosterone,” and
25   directs viewers to the website www.Mdrive4men.com for more information.
26

27

28

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                     3.      Websites
1
             139.    The websites www.mdriveformen.com and www.Mdrive4men.com are owned
2
     by defendant DreamBrands, and have the same content. The websites (Exh. 33) state that
3
     Mdrive “contains a clinically tested ingredient that naturally increases healthy testosterone in
4

5
     the body;” “Testofen’s clinical results confirmed a boost in free testosterone levels;” and

6
     “Mdrive is the only clinically proven formula.”

7            140.    Under the heading “MDrive Science,” the websites state that “we added a

8    specific fenugreek seed extract . . . to ensure increased healthy normal levels of free

9    testosterone;” that MDrive contains “specific ingredients that have been clinically tested and
10   shown to increase free testosterone;” and that “Testofen’s clinical results confirmed a boost in
11   free testosterone levels in men . . . .”
12           141.    The website www.dreambrands.com is owned by defendant DreamBrands. The
13   website (Exh. 34) states that Mdrive “Naturally Increase[s] Testosterone,” “contains a
14
     clinically tested ingredient that naturally increases healthy testosterone in the body,” and
15
     “contains Testofen. A clinical study of Gencor’s Testofen revealed that it promoted healthy
16
     free testosterone levels in the active group of subjects.” The website also states, as to both
17
     Mdrive and Mdrive Elite:
18
                     Increase Testosterone
19                   Testofen’s clinical results confirmed a boost in free testosterone
                     levels in men . . . .
20
             G.      Test Freak
21
                     1.      Label and packaging
22
             142.    The label and packaging for Test Freak Hybrid Pro-Testosterone Stimulator
23
     (“Test Freak”) (Exh. 35) state that the product “Increases Free Testosterone,” and is “The
24
     World’s Most Cutting Edge Testosterone-Boosting Formula!” The packaging states that the pr
25
     oduct “is “Unquestionably the Most Powerful Test Booster Ever Created!” and that the
26
     product:
27

28

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                    Supplies more TESTOFEN than any other test booster on the
1                   market! On its own, TESTOFEN is clinically shown to boost free
                    testosterone levels in humans by an incredible average of 98.8%!
2
                    2.     Website
3
            143.    The website www.pharmafreak.com is owned by defendant PharmaFreak. The
4
     website (Exh. 36) states that Test Freak “Helps Increase Free Testosterone! Helps Increase
5
     Total Testosterone!”, and “Provides clinically researched testosterone-boosting ingredients!”
6

7
            H.      PMD N-TEST 600/Flex Stack

8
                    1.     Label and packaging
            144.    The packaging for PMD Flex Stack (Exh. 37), which contains a bottle of PMD
9

10
     N-TEST 600, states:

11                  Natural Testosterone Booster: N-TEST 600 is fully jacked with
                    600 mg of Testofen, the clinically studied amount necessary to
12                  increase free flow testosterone levels up to 98%.*
13                  DYNAMIC RESULTS WITH TESTOFEN!
14                  Clinically Studied*
                    Testofen
15
                    98% INCREASE IN FREE TESTOSTERONE
16
                    *Effect of Testofen on safety, anabolic activity and factors
17
                    affecting exercise physiology. Copyright by Gencor Nutrients,
18
                    Inc.
            145.    The label for PMD N-TEST 600 (Exh. 38) states:
19
                    INSANE TESTOSTERONE BOOST
20
                    600 mg of
21
                    Testofen
                    Clinically Proven Amount*
22

23
                    Increase Free Testosterone Levels Up to 98%*
                    With 600 mg of Clinically Studied Testofen
24
                    *Effect of Testofen on safety, anabolic activity and factors
25                  affecting exercise physiology. Copyright 2008 by Gencor
                    Nutrients, Inc.
26

27

28

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                    2.     Website
1
            146.    The website www.ndsnutrition.com is owned by defendant NDS. The website
2
     (Exh. 39) states:
3
                    N-TEST 600 is a strong natural testosterone booster fully loaded
4
                    with 600 mg of Testofen, the clinically studied amount necessary
5
                    to increase free testosterone levels up to 98%†
                    †Effect of Testofen on safety, anabolic activity and factors
6
                    affecting exercise physiology. Copyright 2008 by Gencor
7
                    Nutrients, Inc.

8
            I.      NO2 Red Test
                    1.     Label
9
            147.    The label for NO2 Red Test (Exh. 40) states:
10

11
                    NATURALLY BOOST TESTOSTERONE LEVELS
                    WIITH CLINICALLY TESTED INGREDIENTS*
12
                    98% INCREASE IN FREE TESTOSTERONE
13                  2.     Website
14          148.    The website www.mri-performance.com is owned by defendant MRI. The
15
     website (Exh. 41) states:
16
                    NO2 RED TEST – the scientific, MRI approach to naturally
17
                    boosting testosterone levels. Through an impressive line-up of
                    powerful, clinically tested ingredients, NO2 RED TEST drives an
18                  incredible 98% increase in free testosterone.

19          J.      Ultra T Gold

20
                    1.     Label and Packaging

21
            149.    The label and packaging for Ultra T Gold (Exh. 42) state:

22                  with clinically studied Testofen

23                  ALL-NATURAL
                    FREE TESTOSTERONE BOOSTER
24
                    Naturally increases free testosterone
25                  Clinically tested . . . .
26                  Are you Looking to Boost Testosterone?

27                  Ultra T Gold is a natural solution for boosting free testosterone
                    levels . . . .
28

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                   The all natural key ingredient in Ultra T Gold was shown in [a]
1                  double-blind, placebo controlled, human clinical stud[y] . . . to be a
                   safe and effective way to significantly boost free testosterone
2
                   levels . . . .
3                  2.       Website
4           150.   The website www.naturade.com is owned by defendant Naturade. The website
5    (Exh. 43) contains the same representations concerning Ultra T Gold as the label and
6
     packaging.
7
            K.     Vitali-T-Aid
8
                   1.      Label and Packaging
9
            151.   The label and packaging for Vitali-T-Aid (Exh. 44) state:
10
                   BOOST TESTOSTERONE
11                 with clinically studied Testofen

12
                   •    Naturally increases free testosterone

13
                   •    Clinically tested
                   Are you looking to Boost Testosterone?
14
                   Vitali-T-Aid is a natural solution for boosting free testosterone
15
                   levels . . . .

16
                   The all natural key ingredient in Vitali-T-Aid was shown in [a]
                   double-blind, placebo controlled, human clinical stud[y], . . . to be
17
                   a safe and effective way to significantly boost free testosterone
                   levels . . . .
18
            152.   The label and packaging for Vitali-T-Aid Energy (Exh. 45) state:
19
                   with clinically studied Testofen
20
                   •    Supports natural increases of free testosterone in men
21
                   Are you Looking to Help Boost Free Testosterone?
22                 Vitali-T-Aid [ENERGY] is a solution for supporting free
                   testosterone levels . . . .
23
                   Clinically Studied Ingredient
24                 The all natural key ingredient in Vitali-T-Aid [ENERGY] was
                   shown in [a] double-blind, placebo controlled, human clinical
25                 stud[y], . . . to be a safe and effective way to significantly help
                   boost free testosterone levels . . . .
26

27

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                      2.      Websites
1
              153.    The website www.naturade.com is owned by defendant Naturade. The website
2
     contains the same representations concerning Vitali-T-Aid (Exh. 46) and Vitali-T-Aid Energy
3
     (Exh. 47) as the label and packaging.
4

5
                      3.      Television and Print Advertising
              154.    A press release issued by Naturade (Exh. 48) stated that “Vitali-T-Aid is being
6

7
     launched with a multi-million dollar direct response television and print advertising campaign .

8    . . .”

9             155.    A television commercial for Vitali-T-Aid, available at

10   http://www.youtube.com/watch?v=XgiFqcl5dnA, states that Vitali-T-Aid “will boost your free

11   testosterone levels . . . . Clinical tests have shown that Vitali-T-Aid significantly increases free
12   testosterone levels . . . .”
13            L.      Testoril
14                    1.      Label and packaging
15            156.    The label and packaging for Testoril (Exh. 49) state that it is a “Clinically
16   Proven Testosterone Booster With Clinically Studied Testofen.” A package insert states that
17   “You’ve just purchased the world’s #1 testosterone booster. We guarantee it.” The package
18
     insert states that “Testoril ingredients have been scientifically researched and clinically tested.”
19
                      2.      Website
20
              157.    The website www.testoril.com is owned by defendant Premium Nutraceuticals.
21
     The website (Exh. 50) states:
22
                      Clinically Proven
23                    THE STRONG, POWERFUL & Effective Testosterone Booster
24                    Most importantly, our formulators developed the Testoril blend
                      with the clinically proven dosage of Testofen . . . .
25
                      A DAILY SUPPLEMENT OF TESTORIL CAN HELP BOOST
26                    YOUR TESTOSTERONE NATURALLY!
27

28

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                    Unlike other over the counter testosterone supplements, the
1                   featured ingredient in Testoril, Testofen, has been clinically proven
                    to increase testosterone production.
2

3
                    STUDIES AND TESTS HAVE SHOWN THAT TESTOFEN --
                    THE FEATURED INGREDIENT IN TESTORIL CAN
4
                    PRODUCE EFFECTIVE RESULTS!

5                   Consider this: Testoril has been formulated based on the most
                    current emerging medical research and clinical trials on the effects
6                   that dietary supplementation has on aging and features Testofen
                    which is supported by clinical studies.
7
                    A Daily Supplement of Testoril Can Help Boost Your Testosterone
8                   Naturally
9                   Testoril has been formulated with Testofen to help your body
                    begin releasing higher levels of your own, naturally produced
10                  hormones like free testosterone.
11                  Testoril has been formulated to help men suffering with
                    Testosterone deficiency take that first step in reclaiming their life.
12

13
                    Male Testosterone deficiency is REAL and there’s something you
                    can do about it. You have nothing to lose and everything to gain!
14
                    TESTOFEN (Standardized Fenugreek Seed Extract)
15                  You are probably asking: “How do I safely increase my free
                    testosterone levels?” Well researched testosterone boosters, like
16                  Testoril, can be the answer.

17                  To view the results of the latest clinical study of Testofen please
                    Click Here To Review This Clinical Study.
18
                    Testoril is backed by smart science, not fly-by-night data. There is
19                  no reason to risk your health by using disreputable testosterone
                    boosters with cheap ingredients. It’s just not worth it!
20
                    Proven Ingredients That Work
21
                    Clinically Studied for Ultimate Performance
22          158.    Visitors to the website who “Click Here To Review This Clinical Study” are
23
     taken to Gencor’s 2006 “Testofen Human Clinical Trial” report.
24
     IX.    GNC’s Central Role In Marketing “Testosterone Boosters”
25
            A.      GNC’s Dominant Role in the Supplements Industry
26
            159.    In its most recent annual report, GNC describes itself as “the leading global
27
     specialty retailer of health and wellness products, including vitamins, minerals and herbal
28

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1    supplement products, sports nutrition products and diet products.” As of December 31, 2013,
2    GNC operated 3,342 company-owned stores in the United States and Canada, and there were
3    another 3,036 franchise locations in the United States.
4
            160.    In 2013, domestic retail sales at GNC’s company-owned stores and its website,
5
     www.gnc.com totaled over $1.7 billion, including $765 million in sports nutrition products,
6
     GNC’s largest product category, which includes most of the products sold by GNC containing
7
     Testofen.
8
            161.    GNC describes its dominant position in the marketplace, its close relationships
9
     with supplement manufacturers, and the trust and confidence placed in GNC by its customers,
10
     as follows:
11
                    We believe that the strength of our GNC brand, which is
12                  distinctively associated with health and wellness, combined with
                    our stores and online channels, gives us broad access to consumers
13
                    and uniquely positions us to benefit from the favorable trends
14
                    driving growth in the nutritional supplements industry and the
                    broader health and wellness sector.
15
                    [O]ur network of domestic retail locations is approximately ten
16
                    times larger than the next largest United States specialty retailer of
                    nutritional supplements and provides a leading platform for our
17
                    vendors to distribute their products to their target consumers. Our
                    close relationships with our vendor partners have enabled us to
18                  negotiate first-to-market opportunities. In addition, our in-house
                    product development capabilities enable us to offer our customers
19                  proprietary merchandise that can only be purchased through our
                    locations or through GNC.com. Because the nutritional
20                  supplement consumer often requires knowledgeable customer
                    service, we also differentiate ourselves from mass and drug
21                  retailers with our well-trained sales associates who are aided by in-
                    store technology. We believe that our expansive retail network,
22                  differentiated merchandise offering and quality customer service
                    result in a unique shopping experience that is distinct from that of
23                  our competitors.
24                  We believe we distinguish ourselves from mass and drug retailers
                    with our well-trained sales associates, who offer educated service
25                  and trusted advice.
26

27

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            B.      GNC’s Exclusive Arrangements With Its Vendor Partners
1
            162.    Among the “first-to-market opportunities” that GNC has negotiated through its
2
     “close relationships” with its “vendor partners” are three of GNC’s best-selling products,
3
     Nugenix, Troxyphen, and High T.
4

5
                    1.     Nugenix
            163.    An August 16, 2012 press release (Exh. 51) announced that:
6

7
                    Direct Digital, LLC . . . recently announced the launch of
                    NUGENIX, an all-new, natural testosterone booster . . . .
8
                    NUGENIX, a first-of-its-kind product in the Men’s Vitality
9                   category, will initially be offered exclusively at GNC, and is
                    already available at GNC.com.
10
                    Based upon the on-going successful partnership between GNC and
11                  Direct Digital, the exclusive launch of NUGENIX within GNC
                    stores is the perfect platform to present such a revolutionary new
12                  product offering.

13          164.    A September 11, 2012 press release (Exh. 52) announced that:

14                  NUGENIX Natural Testosterone Booster Tops Men’s Vitality
                    Category Sales on GNC.com
15
                    NUGENIX, a first-of-its kind men’s wellness product that
16                  naturally boosts testosterone, . . . recently launched online and was
                    GNC.com’s top-selling Men’s Vitality product for the month of
17                  August 2012.
18                  Despite having only been available for a matter of weeks,
                    NUGENIX has proven so popular, it has completely sold-out
19                  online via its exclusive web retailers. However, it is once again
                    available in its various e-tail venues and will soon be offered in
20                  nearly 5,000 U.S.-based GNC retail locations.
21                  “The decision to launch on GNC.com has definitely proven to be
                    the right one. NUGENIX is GNC’s top online seller within the
22                  Men’s Vitality category despite limited launch distribution. In
                    fact, it is a top-seller and will not even reach all their retail
23                  locations until later this month,” stated Brandon Adcock, co-
                    founder and president of Direct Digital, LLC, the developer and
24                  marketer of NUGENIX. “Through our ongoing partnership . . .
                    we’ve been confident since day one that GNC was the ideal retail
25
                    channel to educate the core consumer regarding the numerous
26
                    benefits associated with every Direct Digital nutritional support
                    product. We are thrilled with the overwhelming response and
27                  record-breaking sales NUGENIX has experienced in its first month
                    of existence.”
28

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1           165.    According to Direct Digital:
2                   Nugenix was the number one selling Men’s Vitality product in
                    GNC during 2013 and continues this year [2014] to be the top
3                   selling Men’s Vitality product in GNC.
4           166.    On February 19, 2014, GNC “announced the winners of its prestigious Vendor
5    Awards for 2013, recognizing their commitment to achieving customer satisfaction through
6
     innovative sports and wellness products,” which GNC describes as “our opportunity to
7
     recognize publicly their contributions to innovation, product quality and consumer information
8
     . . . .” (Exh. 53.) In the category of “Product Information,” the award went to Nugenix.
9
            167.    In GNC’s list of award recipients, the word “Nugenix” hyperlinks to the
10
     following product information (Exh. 54):
11
                    How to Boost Your Free Testosterone: GNC’s #1 Selling &
12                  Award Winning Free Testosterone Booster
13                  On February 19th, 2014 GNC the nation’s largest specialty vitamin
                    retailer announced its annual product award winners. GNC singled
14                  out less than ten companies and products for special awards.
15                  One award winner in particular received strong praise. Nugenix a
                    free testosterone booster and the top selling product in the Men’s
16                  Vitality category.
17                  Over the years, any number of pills, potions, and gels have claimed
                    to work wonders for men’s free testosterone. In reality, few of
18                  these options do any good.
19                  Nugenix, which triggers your body into increasing its levels of free
                    testosterone, helped break the stereotype that free testosterone
20                  boosters are only for hardcore bodybuilders. GNC stores secured
                    the exclusive rights to Nugenix’s US launch and within three
21
                    months it was one of the top selling vitality supplements in the
                    entire GNC chain.
22
                    The key ingredient is Testofen which is made from the rare
23
                    Fenugreek plant. Testofen has been shown in clinical trials to boost
24
                    free testosterone levels . . . .
                    GNC stores secured the exclusive retail rights to Nugenix’s US
25
                    launch and it’s carried in GNC stores nationwide. Click Here >
26          168.    Clicking on “Click Here” redirects visitors to the website,
27
     https://www.nugenix.com/trial/ (Exh. 55) which states, under the GNC logo:
28

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                   “It is always a pleasure to deliver these well-deserved awards that
1                  our vendor partners work so hard to achieve,” said Tom Dowd,
                   GNC Executive Vice President, and Chief Merchandising Officer
2
                   & General Manager. “This is our opportunity to recognize
3
                   publicly their contributions to . . . consumer information . . . .”
            169.   After being redirected to the website https://www.nugenix.com/trial/, visitors
4

5
     are presented with a “pop-up” window with the GNC logo (Exh. 56), which states:

6                  NUGENIX PRODUCTS AVAILABLE AT

7
                   GNC Live Well
                   SHOP NATIONWIDE OR AT GNC.COM
8
                   Testosterone Booster
9
                   SHOP NOW
10
            170.   Clicking on “SHOP NOW” redirects visitors to the GNC website,
11
     http://www.gnc.com, to purchase Nugenix.
12
            171.   A 60-second television commercial for Nugenix, available at
13
     http://www.ispot.tv/ad/7dIG/nugenix, has aired nationally 6,967 times, including on April 15,
14
     2014 at 5:23 a.m. PST on Smithsonian. The commercial is co-branded with GNC, and directs
15
     viewers to the website “TRYNUGENIX.COM” (Exh. 54), which contains the same product
16
     information and links presented supra.
17
            172.   A series of mass email advertisements for Nugenix sent by Direct Digital, all of
18
     them co-branded with GNC (Exh. 120), state:
19
                   The Truth About Testosterone
20

21
                   We hear and see ads all of the time about male products that don’t
                   explain what they really are.
22                 What if there was a male product that was backed by real science?
                   What if that same product just happened to be GNC’s #1 selling
23                 vitality product?
                   Nugenix is . . . carefully blended to help boost the all-important
24                 free testosterone.

25          173.   Another series of mass email advertisements for Nugenix sent by Direct Digital,

26   all of them co-branded with GNC (Exh. 121), state:

27                 Clinical studies support award-winning free testosterone booster
28                 Nugenix Free Testosterone Booster is the top-selling men’s vitality
                                                    44
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                    product and an award winning supplement at GNC. The key
1                   ingredient in Nugenix is Testofen . . . .
2
                    Testofen has been shown in clinical trials to
3
                    Boost free testosterone levels
            174.    Another series of mass email advertisements for Nugenix sent by Direct Digital
4

5
     (Exh. 122) state that Nugenix is available “EXCLUSIVELY AT GNC,” and that “The key

6
     clinically researched ingredient, Testofen, is what gives Nugenix an edge over other products

7    that claim to increase free testosterone.”

8                   2.      Troxyphen

9           175.    A February 23, 2013 press release (Exh. 57) announced that:

10                  Troxyphen the first product to be launched under truDERMA’s
                    new pūrFORMANCE line for men is available now exclusively at
11                  GNC stores nationwide, http://www.gnc.com.
12                  Troxyphen naturally and significantly increases your base line
                    testosterone levels . . . .
13
                    “Troxyphen is a natural testosterone booster for men . . . . . We are
14                  thrilled to introduce Troxyphen exclusively at GNC.
15                  Troxyphen is available at a GNC store near you or online at
                    http://www.gnc.com . . . .
16
            176.    As set forth above, a nationwide radio commercial for Troxyphen, which has
17
     aired thousands of times, states that “Troxyphen is GNC’s best-selling, 100% natural and most
18
     powerful testosterone booster,” and that “Troxyphen is available nationwide at GNC stores.”
19
     The commercial also directs listeners to the website “stoplowt.com” or “raisemytest.com”
20
     (which is redirected to www.troxyphen2.com), which are co-branded with GNC.
21
                    3.      High T
22
            177.    An October 10, 2011 press release (Exh. 58) states:
23

24
                    Kingfisher Media . . . today announced the introduction of its all
                    natural testosterone booster High T through GNC stores
25                  nationwide.

26
                    The initial launch will consist of 800 stores with an additional
                    2,000 stores by end of Q1 2012.
27
                    “We are very pleased to partner with GNC in High T’s
28
                    introduction to the market and we believe, given their reputation

                                                     45
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                    for high quality products and cutting edge sports science, that GNC
1                   is the perfect venue for High T,” said a spokesperson representing
                    Kingfisher Media. “GNC’s customer base – health-conscious
2
                    individuals who are savvy and informed about supplement quality
3
                    – is the ideal market for High T.”
                    4.      PMD N-TEST 600/Flex Stack
4
            178.    PMD N-TEST 600 and PMD Flex Stack are sold exclusively through GNC.
5
                    5.      NO2 Red Test
6
            179.    NO2 Red Test is sold exclusively through GNC.
7

8
             C.     GNC’S Dominant Role in the Marketing and Sale of “Testosterone Boosters”
            180.    GNC markets and sells the following nineteen products containing Testofen as
9

10
     clinically proven to increase free testosterone levels, at the following retail prices:

11
                      Nugenix                            $69.99

12
                      Troxyphen                          $59.99

13
                      Troxyphen Elite                    $69.99

14
                      Ageless Male                       $44.99

15
                      Test X180                          $69.99

16
                      Test X180 Alpha                    $139.99

17
                      Test X180 Ignite                   $79.99

18
                      Stack Factor 2 With Test X180      $139.98

19
                      High T                             $49.99

20
                      High T Senior                      $59.99

21
                      High T Black                       $69.99

22
                      High T Caffeine Free               $69.99

23
                      Mdrive                             $69.99

24
                      Mdrive Elite                       $79.99

25
                      Test Freak                         $79.99

26
                      PMD N-TEST 600                     $119.99

27
                      PMD Flex Stack                     $199.99

28
                      NO2 Red Test                       $79.99

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1                      Ultra T Gold                        $39.99
2           181.      The GNC Suppliers also make these products available on their respective
3    websites, at the same retail prices, plus shipping.
4           182.      GNC and its “vendor partners” market these products through a variety of
5
     channels and co-branding arrangements, including television, radio, websites, direct mail,
6
     email, and point-of-sale displays at GNC retail locations.
7
                      1.     Retail Displays
8
            183.      GNC retail locations have standardized point-of-sale displays, including shelf
9
     signage, floor displays, and checkout displays.
10
            184.      Each GNC retail location has a “Men’s Health” section (Exh. 59), located in a
11
     high-visibility position within the store. The Men’s Health section displays a sign (Exh. 60)
12
     entitled “Testosterone Support,” featuring the image of Frank J. Costa, M.D., a “Member of the
13
     GNC Medical Advisory Board” and “World-Renowned Urologist and Expert in Prostate
14
     Health.”
15
            185.      The Men’s Health section displays most of the products sold by GNC
16
     containing Testofen, including, without limitation, Nugenix, Ageless Male, and the full range
17

18
     of Test X180 and High T products. Signage identifies certain products, such as High T, as a

19   “Best Seller.”

20          186.      Each GNC retail location has a “Newest Latest Greatest” section (Exh. 61),

21   located in a high-visibility position within the store. The Newest Latest Greatest section
22   features a number of products containing Testofen, including, without limitation, Nugenix,
23   Troxyphen, and Test X180, High T, and Mdrive products.
24          187.      GNC retail locations also display products containing Testofen in other
25   locations within the store (Exh. 62), including, without limitation, Nugenix, Troxyphen, Test
26
     Freak, and Test X180, High T, and Mdrive products.
27

28

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1           188.    Each GNC retail location has a “Hot New Products” display (Exh. 63) located at
2    the checkout counter. The Hot New Products display features products containing Testofen,
3    including, without limitation, High T and Test X180 products.
4
            189.    GNC retail locations also feature floor and hanging shelf displays for products
5
     containing Testofen, including a floor display for “NUGENIX NATURAL TESTOSTERONE
6
     BOOSTER” featuring the GNC logo (Exh. 64), hanging shelf displays for Test X180 Alpha
7
     (Exh. 65), and floor and shelf displays for High T products.
8
            190.    An August 6, 2012 press release (Exh. 66) states:
9
                    Kingfisher Media . . . today announced that GNC will be
10                  introducing new point of sale displays nationally to promote the
                    High T family of products.
11
                    The Point of Purchase (POP) displays consist of two distinct units:
12                  a sleek black upright unit for the Ultimate Stack – a triple
                    combination of Black High T, High G, and High T Gel – and a
13                  gravity feed rack for High T White. The High T White gravity feed
                    racks will be placed in 4,000 total stores while the Ultimate Stack
14                  displays will be found in 1,400 locations. Both units have been met
                    with enthusiasm from customers.
15
                    “These displays are an additional step in cementing High T’s brand
16                  awareness among GNC customers,” said D. William Pettigrew,
                    Director of Sales and Marketing for Kingfisher Media. “Our point
17
                    of sale displays will be placed in prime locations within GNC’s
18
                    stores to highlight the High T name. This roll-out represents
                    GNC’s support of and commitment to our brand.”
19
                    2.     Mailers
20
            191.    GNC regularly sends mailers to its customers for whom it has postal addresses
21
     advertising products containing Testofen (Exh. 67), including, without limitation, Nugenix,
22
     Troxyphen, Test X180, and High T products.
23
                    3.     Email
24
            192.    GNC sends email messages to its customers for whom it has email addresses
25
     advertising products containing Testofen (Exh. 112), including, without limitation, Nugenix,
26
     Troxyphen, Test X180, and High T products.
27

28

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             D.     GNC’s Representations Concerning Its Vendor Partners’ “Testosterone
1                   Boosters”
2                   1.      Nugenix
3            193.   On its websites, www.gnc.com (Exh. 68) and www.LuckyVitamin.com (Exh.
4    69), GNC states that “Nugenix Natural Testosterone Booster is an all natural Testosterone
5    booster that contains clinically studied ingredients that are proven to boost free testosterone
6
     levels.”
7
                    2.      Troxyphen
8
             194.   On its websites, www.gnc.com (Exh. 70) and www.LuckyVitamin.com (Exh.
9
     71), GNC states that Troxyphen contains “Ingredients Shown to Help Raise Testosterone,” and
10
     that Troxyphen “naturally and significantly increase[es] your base line Testosterone levels . . .
11
     .” On its websites, www.gnc.com (Exh. 72) and www.LuckyVitamin.com (Exh. 73), GNC
12
     states that Troxyphen Elite is “A Powerful Free Testosterone Booster” with “INGREDIENTS
13
     SHOWN TO HELP: Raise Free Test Levels” that “naturally and significantly increase[es]
14
     your base line Testosterone levels."
15
                    3.      Ageless Male
16
             195.   On its websites, www.gnc.com and www.LuckyVitamin.com (Exh. 74), GNC
17
     states that:
18

19
                    Ageless Male is made with a standardized extract called Testofen,
                    which is clinically-tested ingredient derived from the fenugreek
20
                    herb. A double-blind, randomized, placebo-controlled human
                    clinical study on Testofen has shown it can significantly help boost
21                  free testosterone in men.

22                  The key ingredient in Ageless Male has been shown in published
                    human research to help significantly boost free testosterone levels .
23                  ...

24                  What is the key ingredient in Ageless Male?

25
                    It’s called Testofen, which is a natural and clinically-tested
                    ingredient derived from the fenugreek herb. A double-blind,
26                  randomized, placebo-controlled human clinical study on Testofen
                    has shown it can significantly help boost free testosterone in men .
27                  ...

28

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                    4.       Test X180
1
            196.    On its websites, www.gnc.com (Exh. 75) and www.LuckyVitamin.com (Exh.
2
     76), GNC states that:
3
                    The experts at Force Factor carefully formulated Test X180 to
4
                    provide the boost that every man needs. By naturally raising your
5
                    levels of free testosterone . . . .
                    Each serving of Test X180 contains clinically researched levels of
6
                    Testofen . . . . Testofen is the well-known, effective compound
7
                    your body needs to combat natural testosterone decline.

8
                    There’s no need to take a chance on your health with untested,
                    risky ingredients. Look and feel confident while you perform at
9                   your peak with the trusted ingredients in Test X180.

10
            197.    On its websites, www.gnc.com (Exh. 77) and www.LuckyVitamin.com (Exh.

11   78), GNC states that “The Force Factor team perfected the Test X180 Alpha formula with one

12   of the only natural ingredients clinically demonstrated to increase free testosterone levels:

13   Testofen,” and that “the natural ingredient Testofen is clinically demonstrated to raise your

14   body’s free testosterone levels.” On its websites, www.gnc.com (Exh. 79) and
15   www.LuckyVitamin.com (Exh. 80), GNC states that “Test X180 Ignite was developed to be
16   the ultimate all-in-one free testosterone booster, using safe, trusted ingredients backed in real
17   science. Test X180 Ignite is fueled by Testofen, a natural fenugreek seed extract,” and that
18
     “Testofen helps raise your body’s levels of free testosterone . . . .”
19
                    5.       High T
20
            198.    On its websites, www.gnc.com (Exh. 81) and www.LuckyVitamin.com (Exh.
21
     82), GNC describes High T as an “ALL NATURAL TESTOSTERONE BOOSTER” that “has
22
     been clinically proven to boost free Testosterone levels;” states that “High T has been
23
     clinically proven to boost free Testosterone levels;” and states that “Testofen is an all natural
24
     extract that has been clinically proven in human studies to boost Testosterone levels . . . .” On
25
     its websites, www.gnc.com (Exh. 83) and www.LuckyVitamin.com (Exh. 84), GNC describes
26
     High T Black as a “Testosterone Booster.” On its websites, www.gnc.com (Exh. 85) and
27

28

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1    www.LuckyVitamin.com (Exh. 86), GNC describes High T Caffeine Free as a “Testosterone
2    Booster” that “has been scientifically formulated to help Testosterone levels . . . .”
3                   6.       Mdrive
4           199.    On its websites, www.gnc.com (Exh. 87) and www.LuckyVitamin.com (Exh.
5    88), GNC represents that:
6
                    Ingredients in M-Drive have been shown to increase testosterone
7
                    levels . . . . Developed with intensive research, M-Drive uses the
                    most effective natural ingredients.
8
                    *M-Drive contains Testofen - a Fenugreek Seed Extract clinically
9                   proven to promote healthy free testosterone levels

10
                    *A clinical study of Testofen revealed that it promoted healthy free
                    testosterone levels in the active group of subjects by 98%.
11
            200.    On its websites, www.gnc.com (Exh. 89) and www.LuckyVitamin.com (Exh.
12
     90), GNC describes Mdrive Elite as “an Energizing Testosterone Booster” that “contains the
13
     same trusted premium compounded formula as the original Mdrive. It still naturally increases
14
     healthy free testosterone levels.” GNC states that the product contains:
15
                    Clinically Tested Ingredients
16                  At the Clinical Levels.
17                       • Increase Testosterone
                           Testofen’s clinical results confirmed a boost in free
18                         testosterone levels in men . . . .
19                       • Clinically Proven Ingredients
                         • Increase Free Testosterone
20
                         • Testofen Fenugreek is clinically proven to increase
21                         healthy free testosterone.
22                  7.       Test Freak
23          201.    On its website, www.gnc.com (Exh. 91), GNC states that Test Freak contains:
24                  100% Clinically-Proven and Organically Altered Pro Testosterone
                    Compounds
25                     • Increases Free Testosterone!
                       • Increases Total Testosterone!
26
                    The World’s Most Cutting Edge Testosterone-Boosting
27                  Formula!
28

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                    TEST FREAK is hands-down one of the strongest testosterone
1                   boosters legally available! It has been created specifically for
                    hardcore bodybuilders and extreme athletes who are looking to
2
                    crank testosterone levels to the max! . . . TEST FREAK’s one-of-
3
                    a-kind formula contains clinically-proven dosages of the most
                    heavily researched testosterone-boosting compounds . . . .
4
                    8.        PMD N-TEST 600/Flex Stack
5           202.    On its website, www.gnc.com (Exh. 92), GNC states that PMD N-TEST 600,
6
     included in PMD Flex Stack, is a “Natural Testosterone Booster” which “is fully jacked with
7
     600 mg of Testofen, clinically studied amount necessary to increase free flow testosterone
8
     levels up to 98%. . . . N-TEST 600 increases testosterone levels naturally . . . .”
9
                    9.        NO2 Red Test
10
            203.    On its websites, www.gnc.com (Exh. 93) and www.LuckyVitamin.com (Exh.
11
     94), GNC states that:
12
                    NO2 Red Test will naturally boost testosterone levels with
13                  clinically tested ingredients.
14                        •   98% Increase in Free Testosterone
15                  NO2 Red Test - the scientific, MRI approach to naturally boosting
                    testosterone levels. Through an impressive line-up of powerful,
16                  clinically tested ingredients, NO2 Red Test drives an incredible
                    98% increase in free testosterone.
17
                    10.       Ultra T Gold
18
            204.    On its website, www.LuckyVitamin.com (Exh. 95), GNC states that:
19
                    Ageless Foundation Ultra T Gold All-Natural Free Testosterone
20                  Booster is a natural solution for increasing free testosterone levels .
                    ...
21
                    Ageless Foundation Ultra T Gold All-Natural Free Testosterone
22                  Booster contains clinically studied levels of Testofen. Ageless
                    Foundations Testofen is a natural solution for boosting free
23                  testosterone levels . . . . In human trials, Testofen was shown to:
24                       •    Increase free testosterone levels by 98%
25          205.    The foregoing statements appear by default on the www.gnc.com and
26   www.LuckyVitamin.com webpage dedicated to each product, under the “Description” tab.
27

28

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1           206.   On the website, www.gnc.com, there are five tabs on each such product page,
2    the third of which is “Health Notes.” Clicking on the “Health Notes” tab on the product pages
3    for Troxyphen, Troxyphen Elite, Test X180, Test X180 Alpha, Test X180 Ignite, High T, High
4
     T Black, High T Black Caffeine Free, Mdrive, Mdrive Elite, and Test Freak presents the
5
     following disclaimer:
6
                   Disclaimer: This scientific independent research is provided by
7                  Aisle7 and is for informational use only. GNC provides this
                   information as a service but does not endorse it. Likewise, Aisle7
8                  does not recommend or endorse any specific products.

9           207.   After clicking on “I accept these terms,” the website displays the following

10   information about Troxyphen (Exh. 96), Troxyphen Elite (Exh. 97), Test X180 (Exh. 98), Test

11   X180 Alpha (Exh. 99), Test X180 Ignite (Exh. 100), High T (Exh. 101), High T Black (Exh.
12   102), High T Caffeine Free (Exh. 103), Mdrive (Exh. 104), Mdrive Elite (Exh. 105), and Test
13   Freak (Exh. 106):
14                 Natural Testosterone Support
15                 In men, testosterone levels peak in young adulthood and decline
                   over time. A number of supplements are marketed as natural
16                 testosterone support, though these effects have not been
                   demonstrated in clinical research [emphasis added].
17
            E.     GNC’s Watered-Down Representations Concerning Its Own Products
18
                   Containing Testofen
19          208.   In addition to the marketing and sale of “testosterone boosters” manufactured by
20
     its vendor partners, GNC manufactures, markets, and sells its own products containing
21
     Testofen, including GNC Pro Performance Hybrid Test Complex (“Hybrid Test Complex”),
22
     GNC Beyond Raw Re-Test Hardcore Anabolic Enhancer (“Re-Test”), and GNC Preventive
23
     Nutrition Healthy Testosterone Formula (“Healthy Testosterone Formula”).
24
            209.   In its most recent annual report, GNC explains that:
25
                   We have an internal research and development group that performs
26                 scientific research on potential new products and enhancements to
                   existing products, in part to assist our product development team in
27                 creating new products, and in part to support claims that may be
                   made as to the purpose and function of the product.
28

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1           210.    The GNC Medical Advisory Board (Exh. 107):
2                   is comprised of Board Certified and world-renowned physicians
                    who aid in the creation and ongoing development of GNC
3                   products. Using their years of medical experience, in-depth
                    knowledge of the latest advancements in medical research and
4
                    nutritional supplementation, . . . the Board provides invaluable
5
                    insight that keeps GNC on the forefront of product innovation and
                    delivering on our commitment to helping you LIVE WELL.
6
            211.    The label for GNC’s Healthy Testosterone Formula (Exh. 108) states that:
7
                    GNC Preventive Nutrition Products have been scientifically
8                   developed utilizing the expertise of the GNC Medical Advisory
                    Board. . . . This line of products is precisely formulated to provide
9                   clinical strength ingredients and additional nutrients that address
                    key health concerns.
10
                    DEVELOPED WITH AND ENDORSED BY
11                  GNC MEDICAL ADVISORY BOARD
                    ADVANCED KNOWLEDGE FOR BETTER HEALTH
12
                    The GNC Medical Advisory Board utilizes their in-depth medical
13                  knowledge and experience to aid in the creation and ongoing
                    development of GNC products . . . .
14
            212.    Unlike the products containing Testofen manufactured by its vendor partners,
15
     GNC does not represent that any of its own products containing Testofen are clinically proven
16
     to increase free testosterone levels.
17
            213.    GNC represents that its Hybrid Test Complex (Exh. 109) “Helps to Support
18
     Testosterone Levels,” and contains “600 mg Testofen Fenugreek to Trigger Anabolic Factors.”
19
            214.    GNC represents that its Re-Test (Exh. 110) “supports healthy testosterone levels
20

21
     with a clinically advanced anabolic primer.”

22
            215.    GNC represents that its Healthy Testosterone Formula is “designed to support

23   testosterone . . . levels that decline with age,” and “contains clinically studied ingredients”

24   including “Testofen from fenugreek seed extract, clinically shown to improve sexual health . . .

25   .”
26

27

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     X.     Defendants’ Knowledge That Testofen Has Not Been Clinically Proven to Increase
1           Free Testosterone Levels
2           A.      GNC
3           216.    GNC’s “watered-down” claims regarding its own products containing Testofen
4    are compelling evidence that the GNC Medical Advisory Board has concluded that Testofen
5    has not been clinically proven to increase free testosterone levels.
6
            217.    GNC’s statements on its website, www.gnc.com, that Troxyphen, Troxyphen
7
     Elite, Test X180, Test X180 Alpha, Test X180 Ignite, High T, High T Black, High T Black
8
     Caffeine Free, Mdrive, Mdrive Elite, and Test Freak “are marketed as natural testosterone
9
     support, though these effects have not been demonstrated in clinical research” (para. 207,
10
     supra) are conclusive evidence that GNC is fully aware that Testofen has not been clinically
11
     proven to increase free testosterone levels.
12
            B.      Gencor Defendants
13
            218.    The Gencor Defendants’ deliberate manipulation of the identification of the
14
     primary and secondary variables in the Testofen Study is compelling evidence that the Gencor
15
     Defendants are fully aware that Testofen has not been clinically proven to increase free
16
     testosterone levels.
17

18
            219.    On November 21, 2013, the Gencor Defendants and Direct Digital received

19   Professor Jewell’s unredacted report (Exh. 5) concluding that Testofen has not been clinically

20   proven to increase free testosterone levels, and that Gencor’s claims to the contrary are false.

21   Over a year later, the Gencor Defendants continue to market and sell Testofen for inclusion in

22   “Testosterone Boosters” based on their false representation that Testofen has been clinically
23   proven to increase free testosterone levels.
24          C.      Direct Digital
25          220.    A May 23, 2013 press release (Exh. 111) states that:
26                  Direct Digital, LLC . . . is pleased to announce it has selected and
                    partnered with world-renowned physician, Dr. David Katz. Dr.
27                  Katz will join the organization as its Chief Scientific and Medical
28

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                      Advisor. Direct Digital is the creator of such leading supplement
1                     brands as . . . Nugenix Natural Testosterone Booster . . . .
2                     Dr. Katz serves as the Director and Co-Founder of the Yale
                      Prevention Research Center, the Director of Integrative Medicine
3                     at Griffin Hospital in Derby, CT, the President Elect of the
                      American College of Lifestyle Medicine, and is the President and
4
                      Founder of the Turn the Tide Foundation. Dr. Katz is also a Fellow
5
                      of the American College of Preventive Medicine (FACPM), and
                      the American College of Physicians (FACP).
6
                      As Charlotte's fastest growing private company in 2012 (as
7
                      recognized by the Charlotte Business Journal), Direct Digital
                      understands the significance of developing quality products,
8                     backed by solid science. By bringing Dr. Katz on board to consult
                      regarding current and future product formulations, it was yet
9                     another way the company could demonstrate its commitment to the
                      highest standards of business and the most significant levels of
10                    research and development.
11                    “[D]evising the best products requires hard work, diligent attention
                      to the details of science, and a commitment to a cautious approach
12                    that puts safety first. I've been very impressed that Direct Digital
                      embodies just such principles. I am delighted to serve in a role that
13                    will allow me to offer candid, evidence-based guidance in the
                      service of developing and making available products that combine
14                    safety with the greatest possible therapeutic effects," said Dr. Katz.
15          221.      Notwithstanding Direct Digital’s purported “diligent attention to the details of
16   science” and “evidence-based guidance,” a year following the receipt of Professor Jewell’s
17   report, it continues to create and disseminate new advertisements falsely stating that “Testofen
18
     has been shown in clinical trials to boost free testosterone levels” (para. 167, supra). See also
19
     para. 172-174.
20
     XI.    Plaintiffs’ Purchases of “Testosterone Boosters”
21
            222.      Plaintiff Ryan purchased seven bottles of Nugenix from the website
22
     www.nugenix.com, at the retail price, between February 2014 and August 2014. In making
23
     these purchases, Ryan relied on the misrepresentations set forth in paragraphs 108-111 above.
24
            223.      Plaintiff Ryan purchased four bottles of Test X180 Ignite from the website
25
     www.forcefactor.com, at the retail price, between July 2014 and October 2014. In making
26
     these purchases, Ryan relied on the misrepresentations set forth in paragraphs 129-130 above.
27

28

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1             224.   Plaintiff Garza purchased a bottle of Nugenix at a GNC retail location in Gilroy,
2    California, at the retail price, in 2013. In making this purchase, Garza relied on the
3    misrepresentations set forth in paragraphs 108-110 above.
4
              225.   Plaintiff Garza purchased a bottle of Ageless Male at a GNC retail location in
5
     Gilroy, California, at the retail price, in 2013. In making this purchase, Garza relied on the
6
     misrepresentations set forth in paragraph 116 above.
7
              226.   Plaintiff Aguero purchased a bottle of Test X180 at a GNC retail location in
8
     Apple Valley, California, at the retail price, in approximately July 2014. In making this
9
     purchase, Aguero relied on the misrepresentations set forth in paragraphs 127-128 above.
10
              227.   Plaintiff Aguero purchased a bottle of High T at a Walgreens in Hesperia,
11
     California, at the retail price, in approximately June 2014. In making this purchase, Aguero
12
     relied on the misrepresentations set forth in paragraph 131 above.
13
              228.   Plaintiff Cowans purchased a bottle of NO2 Red Test at a GNC retail location in
14

15
     Fresno, California, at the retail price. In making this purchase, Cowans relied on the

16   misrepresentations set forth in paragraph 147 above.

17            229.   Plaintiff Cowans purchased a bottle of Vitali-T-Aid at the retail price of $39.99.

18   In making this purchase, Cowans relied on the misrepresentations set forth in paragraph 151

19   above.
20            230.   Plaintiff Erion purchased two bottles of Test Freak at a GNC retail location in
21   Chico, California, at the retail price, in July 2014. In making these purchases, Erion relied on
22   the misrepresentations set forth in paragraph 142 above.
23
              231.   Plaintiff Ruhnke purchased two bottles of PMD N-TEST 600 at a GNC retail
24
     location in Mission Viejo, California, at the retail price. In making these purchases, Ruhnke
25
     relied on the misrepresentations set forth in paragraph 145 above.
26
              232.   Plaintiff Korves purchased three boxes of Testoril from the website
27
     www.testoril.com, at the retail price of $84.99 each, in approximately July 2014. In making
28

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1    these purchases, Korves relied on the misrepresentations set forth in paragraphs 156-157
2    above.
3             233.   Plaintiff Flores purchased two bottles of Mdrive at a GNC retail location in
4
     Santa Cruz, California, at the retail price, in August 2014 and September 2014. In making
5
     these purchases, Flores relied on the misrepresentations set forth in paragraph 134 above.
6
              234.   Plaintiff Berger purchased a bottle of Nugenix at a GNC retail location in Los
7
     Angeles, California, at the retail price, in early 2013. In making this purchase, Berger relied on
8
     the misrepresentations set forth in paragraphs 108-110 above.
9
              235.   Plaintiff Torres purchased a bottle of Troxyphen at a GNC retail location in
10
     Phoenix, Arizona, at the retail price, in early 2014. In making this purchase, Torres relied on
11
     the misrepresentations set forth in paragraph 112 above.
12
              236.   Plaintiff Torres purchased a bottle of Troxyphen Elite at a GNC retail location
13
     in Phoenix, Arizona, at the retail price, in early 2014. In making this purchase, Torres relied
14

15
     on the misrepresentations set forth in paragraph 113 above.

16            237.   Plaintiff Torres purchased a bottle of High T at a GNC retail location in

17   Phoenix, Arizona, at the retail price, in early 2014. In making this purchase, Torres relied on

18   the misrepresentations set forth in paragraph 131 above.

19            238.   Plaintiff Torres purchased a bottle of High T Senior at a GNC retail location in
20   Phoenix, Arizona, at the retail price, in early 2014. In making this purchase, Torres relied on
21   the misrepresentations set forth in paragraph 131 above.
22            239.   Plaintiff Baker purchased a bottle of Nugenix at a GNC retail location in
23
     Bloomsburg, Pennsylvania, at the retail price, in the fall of 2012. In making this purchase,
24
     Baker relied on the misrepresentations set forth in paragraphs 108-110 above.
25
              240.   Plaintiff Baker purchased a bottle of Ageless Male at a GNC retail location in
26
     Bloomsburg, Pennsylvania, at the retail price, in early 2013. In making this purchase, Baker
27
     relied on the misrepresentations set forth in paragraph 116 above.
28

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1           241.    Plaintiff Baker purchased a bottle of High T Black at a GNC retail location in
2    Wyomissing, Pennsylvania, at the retail price, in early 2013. In making this purchase, Baker
3    relied on the misrepresentations set forth in paragraph 131 above.
4
                                     CLASS ACTION ALLEGATIONS
5           242.    Plaintiffs bring this action on behalf of themselves and a Class, defined as: All
6
     persons who purchased any of the following products (a “Testosterone Booster”):
7
                    •   Nugenix
8
                    •   Troxyphen
9
                    •   Troxyphen Elite
10
                    •   Ageless Male containing Testofen
11
                    •   Test X180
12
                    •   Test X180 Alpha
13
                    •   Test X180 Ignite
14
                    •   Stack Factor 2 With Test X180
15
                    •   High T
16
                    •   High T Senior
17
                    •   High T Black
18
                    •   High T Caffeine Free
19
                    •   Mdrive
20
                    •   Mdrive Elite
21                  •   Test Freak
22                  •   PMD N-TEST 600
23                  •   PMD Flex Stack
24                  •   NO2 Red Test
25                  •   Ultra T Gold
26                  •   Vitali-T-Aid
27                  •   Vitali-T-Aid Energy
28

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1                  •    Testoril
2           243.   Plaintiffs reserve the right to supplement this list to include additional or
3    subsequently-introduced products containing Testofen.
4           244.   Plaintiffs Garza, Aguero, Cowans, Erion, Ruhnke, Flores, Berger, Torres, and
5
     Baker also bring this action on behalf of a GNC Subclass, defined as all persons who
6
     purchased any Testosterone Booster from GNC.
7
            245.   Plaintiffs Ryan, Garza, Berger, and Baker also bring this action on behalf of a
8
     Nugenix Subclass, defined as all persons who purchased Nugenix.
9
            246.   Plaintiffs Garza and Baker also bring this action on behalf of an Ageless Male
10
     Subclass, defined as all persons who purchased Ageless Male.
11
            247.   Plaintiff Torres also brings this action on behalf of a Troxyphen Subclass,
12
     defined as all persons who purchased Troxyphen or Troxyphen Elite.
13
            248.   Plaintiffs Ryan and Aguero also bring this action on behalf of a Test X180
14
     Subclass, defined as all persons who purchased Test X180, Test X180 Alpha, Test X180
15

16
     Ignite, or Stack Factor 2 With Test X180.

17          249.   Plaintiffs Aguero and Torres also bring this action on behalf of a High T

18   Subclass, defined as all persons who purchased High T, High T Senior, High T Black, or High

19   T Caffeine Free.

20          250.   Plaintiff Flores also brings this action on behalf of an Mdrive Subclass, defined
21   as all persons who purchased Mdrive or Mdrive Elite.
22          251.   Plaintiff Cowans also brings this action on behalf of a Naturade Subclass,
23   defined as all persons who purchased Vital-T-Aid, Vitali-T-Aid Energy, or Ultra T Gold.
24
            252.   Plaintiff Cowans also brings this action on behalf of an NO2 Red Test Subclass,
25
     defined as all persons who purchased NO2 Red Test.
26
            253.   Plaintiff Ruhnke also brings this action on behalf of a PMD Subclass, defined as
27
     all persons who purchased PMD N-TEST 600 or PMD Flex Stack.
28

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1           254.    Plaintiff Erion also brings this action on behalf of a Test Freak Subclass,
2    defined as all persons who purchased Test Freak.
3           255.    Plaintiff Korves also brings this action on behalf of a Testoril Subclass, defined
4
     as all persons who purchased Testoril.
5
            256.    Plaintiff Torres also brings this action on behalf of an Arizona Subclass, defined
6
     as all Class members who purchased any Testosterone Booster in the State of Arizona.
7
            257.    Plaintiff Baker also brings this action on behalf of a Pennsylvania Subclass,
8
     defined as all Class members who purchased any Testosterone Booster in the Commonwealth
9
     of Pennsylvania.
10
            258.    Excluded from the Class and Subclasses are the officers, directors, and
11
     employees of any Defendant, any judicial officer presiding over this action, and the members
12
     of his or her immediate family and judicial staff.
13
            259.    Certification of the Class and Subclasses is sought pursuant to Rules 23(a),
14

15
     23(b)(1), 23(b)(2), and 23(b)(3) of the Federal Rules of Civil Procedure.

16          260.    While Defendants have not made sales figures publicly available, the Class and

17   Subclasses each have many thousands of members, and are so numerous that joinder of all

18   members is impracticable.

19          261.    There are numerous questions of fact and law common to the members of the
20   Class and Subclasses which predominate over any questions affecting only individual
21   members, including, without limitation: (a) whether Testofen has been clinically proven to
22   increase free testosterone levels; (b) whether Defendants represented to Plaintiffs, the Class,
23
     and the Subclasses that Testofen has been clinically proven to increase free testosterone levels;
24
     (c) whether Defendants knew that these representations were false; (d) whether Defendants
25
     made these representations without a sufficient basis to believe that they were true; (e) whether
26
     Defendants expressly warranted that Testosterone Boosters had been clinically proven to
27
     increase free testosterone levels; (f) whether Testosterone Boosters fail to conform to such
28

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1    express warranty, or the implied warranties of merchantability and fitness for a particular
2    purpose; (g) whether Defendants’ conduct violates Cal. Civ. Code § 1770(a)(2), (5), and/or (7);
3    (h) whether Defendants’ conduct constitutes fraudulent business acts or practices and/or
4
     deceptive, untrue, and misleading advertising in violation of the Unfair Competition Law, Cal.
5
     Bus. & Prof. Code § 17200, et seq.; and (i) whether Defendants engaged in false advertising in
6
     violation of Cal. Bus. & Prof. Code § 17500, et seq.
7
            262.    Plaintiffs’ claims are typical of the claims of the Class and Subclasses they
8
     represent, as Defendants’ liability to each member of the Class and Subclasses is predicated on
9
     the same material misrepresentation.
10
            263.    Plaintiffs will fairly and adequately protect the interests of the Class and
11
     Subclasses, as they have no conflicts of interest with the other members of the Class or
12
     Subclasses, and have retained counsel experienced in complex consumer class actions.
13
            264.    The prosecution of separate actions by individual Class and Subclass members
14

15
     would create a risk of inconsistent or varying adjudications that would establish incompatible

16   standards of conduct for Defendants.

17          265.    Defendants have acted on grounds that apply generally to the Class and

18   Subclasses, so that final injunctive and declaratory relief is appropriate respecting the Class

19   and Subclasses as a whole.
20          266.    A class action is superior to other available methods for fairly and efficiently
21   adjudicating the controversy, in that the costs of litigation would likely exceed the potential
22   recovery by individual Class and Subclass members, and there are no unusual difficulties in
23
     managing the litigation as a class action.
24

25

26

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                          FIRST CLAIM FOR RELIEF
1     VIOLATIONS OF RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS
                            ACT, 18 U.S.C. § 1962(c)
2

3
         (Against Gencor Defendants, GNC, and GNC Suppliers, on Behalf of the GNC Subclass)
             267.    The allegations of the preceding paragraphs are incorporated by reference as if
4

5
     fully set forth herein.

6
             268.    Plaintiffs Garza, Aguero, Cowans, Erion, Ruhnke, Flores, Berger, Torres, and

7    Baker bring this claim against Gencor Defendants, GNC, Direct Digital, Truderma, Force

8    Factor, NAC, KingFisher, DreamBrands, PharmaFreak, NDS, MRI, and Naturade on behalf of

9    the GNC Subclass.
10           269.    At all relevant times, Defendants were employed by or associated with one or
11   more enterprises engaged in, and the activities of which affect, interstate commerce.
12           270.    Each enterprise is comprised of an association in fact of the Gencor Defendants,
13   GNC, and GNC Suppliers, as follows:
14
                         a. Direct Digital, Gencor Defendants, and GNC
15
                         b. Truderma, Gencor Defendants, and GNC
16
                         c. NAC, Gencor Defendants, and GNC
17
                         d. Force Factor, Gencor Defendants, and GNC
18
                         e. KingFisher, Gencor Defendants, and GNC
19
                         f. DreamBrands, Gencor Defendants, and GNC
20
                         g. PharmaFreak, Gencor Defendants, and GNC
21
                         h. NDS, Gencor Defendants, and GNC
22
                         i. MRI, Gencor Defendants, and GNC
23

24
                         j. Prevention, LLC, NNC LLC, Gencor Defendants, and GNC

25
             271.    Defendants conducted and participated, directly or indirectly, in the operation

26   and/or management of each of their respective enterprise’s affairs through a pattern of

27   racketeering activity consisting of numerous and repeated uses of the mails, commercial

28

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1    interstate carriers, and interstate wire communications for the purpose of executing a scheme or
2    artifice to defraud, all in violation of 18 U.S.C. § 1962(c).
3           272.    The enterprises and their associates share a common purpose: to induce the
4
     members of the GNC Subclass into purchasing Testosterone Boosters based on the false
5
     representation that Testofen has been clinically proven to increase free testosterone levels.
6
            273.    The enterprises and their associates could not achieve their common purpose
7
     without one another’s participation in their operation and/or management: the Gencor
8
     Defendants, to provide the GNC Suppliers with Testofen for inclusion in Testosterone
9
     Boosters; the GNC Suppliers, to formulate and provide GNC with Testosterone Boosters; and
10
     GNC, to market and sell Testosterone Boosters.
11
            274.    The enterprises had longevity sufficient to permit their associates to pursue and
12
     accomplish the enterprises’ purpose: Testosterone Boosters are among GNC’s best-selling
13
     products.
14

15
            275.    GNC provides the exclusive “launch” platform for a steady stream of new and

16   “second generation” Testosterone Boosters, including Nugenix, Troxyphen, and High T

17   products, giving GNC 100% of the revenue from the retail sales of these products.

18          276.    As both GNC and the GNC Suppliers acknowledge, GNC uses its market

19   dominance and influence with its customers to quickly drive sales of these products to levels
20   far beyond what the GNC Suppliers could otherwise achieve.
21          277.    The GNC Suppliers then introduce “new” and purportedly improved versions of
22   each product, and GNC dubs each successive version as the “Newest Latest Greatest,” creating
23
     an ever-growing product category, occupying ever-growing shelf space, and bringing ever-
24
     growing revenues and profits to GNC and its associates in the “Testofenterprise.”
25
            278.    As stated by GNC itself (at http://gnc.mediaroom.com/index.php?s=27086):
26
                    [W]e continue to maintain our market-leading position by
27                  providing our customers with the most comprehensive selection of
                    cutting-edge products. And, we could not possibly provide the
28                  largest selection of products without building strong business

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                       relationships with each of our vendors. Our vendors help us to
1                      better . . . achieve our goals, and increase the sales and inventory
                       turns on the products in our stores.
2
              279.     A picture being worth 1,000 words, the symbiotic relationship between GNC,
3
     the Gencor Defendants, and the GNC Suppliers is illustrated most vividly by a photograph
4

5
     (Exh. 113) which depicts the successive versions of each product line touted by GNC.

6
              280.     In a typical turn of a “Testofenterprise” fraudulent marketing cycle, on May 9,

7    2014, GNC sent out a mass email (Exh. 114) touting “FORCE FACTOR THE ULTIMATE

8    PERFORMANCE STACK,” which includes a bottle of Test X180, as its “DEAL OF THE

9    DAY.” Clicking on the link to “SHOP NOW” takes recipients of the email to GNC’s website
10   (Exh. 115) to purchase Stack Factor 2 With Test X180, where GNC states unequivocally that
11   “When you work out, the Testofen in Test X180 raises your free testosterone levels.”
12            281.     The packaging for Stack Factor 2 With Test X180 (Exh. 116), displayed on
13   GNC’s website as well as in its retail stores, states that “The main ingredient, Testofen, is the
14
     only natural compound that has been clinically demonstrated to increase free testosterone
15
     levels . . . .”
16
              282.     On GNC’s website, clicking on the “Health Notes” tab on the product page for
17
     Stack Factor 2 With Test X180 (Exh. 117) brings up a list of 54 ingredients and their supposed
18
     health benefits. Conspicuously absent from this list is any mention of Testofen. GNC has
19
     omitted its ineffective and insufficient “disclosure,” buried three levels deep on its product
20
     page for Test X180 (see para. 207, supra), that “A number of supplements are marketed as
21
     natural testosterone support, though these effects have not been demonstrated in clinical
22
     research.”
23

24
              283.     On May 15, 2014, GNC sent out a mass email (Exh. 118) touting “truDERMA

25
     TROXYPHEN or TROXYPHEN ELITE,” which it describes as “the advanced formula,” as its

26   “DEAL OF THE DAY.” Clicking on the link to “SHOP NOW” takes recipients of the email

27   to GNC’s website to purchase Troxyphen or Troxyphen Elite, which GNC identifies as a

28   “NEW” product. While GNC’s website continues to state that Troxyphen contains

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1    “Ingredients Shown to Help Raise Testosterone” and “naturally and significantly increase[es]
2    your base line Testosterone levels” (Exh. 70), GNC has now removed its ineffective and
3    insufficient “disclosure,” formerly buried three levels deep on its product page for Troxyphen
4
     (see para. 207, supra), that “A number of supplements are marketed as natural testosterone
5
     support, though these effects have not been demonstrated in clinical research.”
6
            284.    Defendants, having devised a scheme or artifice to defraud, transmitted or
7
     caused to be transmitted by means of wire, radio, and television communication in interstate
8
     commerce, the material misrepresentations set forth above, for the purpose of executing such
9
     scheme or artifice to defraud, in violation of 18 U.S.C. § 1343.
10
            285.    Defendants, having devised a scheme or artifice to defraud, for the purpose of
11
     executing such scheme or artifice, deposited or caused to be deposited in the mail and with
12
     commercial interstate carriers, including United Parcel Service and Federal Express, matters
13
     and things to be sent or delivered by the Postal Service, United Parcel Service, Federal
14

15
     Express, and DHL, including, without limitation, the Testosterone Boosters marketed and sold

16   by Defendants on the websites identified above, in violation of 18 U.S.C. § 1341.

17          286.    As a direct and proximate result of Defendants’ racketeering activities and

18   violations of 18 U.S.C. § 1962(c), Plaintiffs have been injured in their business and property in

19   that they purchased Testosterone Boosters based on the material and false representation that
20   these products have been clinically proven to increase free testosterone levels.
21          287.     Pursuant to 18 U.S.C. § 1964(c), Plaintiffs and members of the GNC Subclass
22   seek actual damages, equal to the amounts paid by Plaintiffs Garza, Aguero, Cowans, Erion,
23
     Ruhnke, Flores, Berger, Torres, and Baker, and the members of the GNC Subclass, for any
24
     Testosterone Booster purchased from GNC or any of its franchisees, treble damages, and
25
     attorneys’ fees and costs.
26

27

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                                SECOND CLAIM FOR RELIEF
1                      VIOLATIONS OF CONSUMER LEGAL REMEDIES ACT
2                                            (Against All Defendants)
3            288.    The allegations of the preceding paragraphs are incorporated by reference as if
4    fully set forth herein.
5
             289.    Plaintiffs and the other members of the Class are “consumers” as defined in Cal.
6
     Civ. Code § 1761(d).
7
             290.    The Testosterone Boosters purchased by Plaintiffs and the other members of the
8
     Class are “goods” as defined in Cal. Civ. Code § 1761(a).
9
             291.    Defendants’ representations, set forth above, that Testosterone Boosters have
10
     been clinically proven to increase free testosterone levels are false, in violation of § 1770(a)(2),
11
     which proscribes “[m]isrepresenting the . . . approval, or certification of goods . . . .”
12
             292.    Defendants’ representations, set forth above, that Testosterone Boosters have
13
     been clinically proven to increase free testosterone levels are false, in violation of § 1770(a)(5),
14
     which proscribes “[r]epresenting that goods . . . have . . . approval, characteristics, ingredients,
15

16
     uses, [or] benefits . . . which they do not have . . . .”

17           293.    Defendants’ representations, set forth above, that Testosterone Boosters have

18   been clinically proven to increase free testosterone levels are false, in violation of § 1770(a)(7),

19   which proscribes “[r]epresenting that goods or services are of a particular standard, quality, or

20   grade, . . . if they are of another.”
21           294.    Pursuant to Cal. Civ. Code § 1780(a)(2), Plaintiffs seek an order enjoining
22   Defendants from the violations of Cal. Civ. Code § 1770(a)(2), (5), and (7) alleged herein.
23           295.    On April 18, 2013, the Gencor Defendants, Direct Digital, and GNC were
24
     served by certified mail, return receipt requested, at their principal places of business with the
25
     notice required by Cal. Civ. Code § 1782(a), sent on behalf of purchasers of Nugenix,
26
     demanding that they provide within 30 days “sufficient information to validate your claim” that
27
     Testofen has been clinically proven to increase free testosterone levels, or face litigation
28

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1    seeking “the recovery of all amounts paid by consumers for Nugenix.” Neither the Gencor
2    Defendants, Direct Digital, nor GNC responded to the notice within 30 days after its receipt.
3            296.     On May 15, 2014, Truderma was served by certified mail, return receipt
4
     requested, at its principal place of business with the notice required by Cal. Civ. Code §
5
     1782(a), demanding that it cease the violations alleged herein, and restore to the members of
6
     the Troxyphen Subclass all amounts paid for Troxyphen and Troxyphen Elite. Truderma did
7
     not respond to or comply with the demands made in the notice within 30 days after its receipt.
8
             297.     On May 15, 2014, Force Factor was served by certified mail, return receipt
9
     requested, at its principal place of business with the notice required by Cal. Civ. Code §
10
     1782(a), demanding that it cease the violations alleged herein, and restore to the members of
11
     the Test X180 Subclass all amounts paid for Test X180, Test X180 Alpha, and Test X180
12
     Ignite. Force Factor did not respond to or comply with the demands made in the notice within
13
     30 days after its receipt.
14

15
             298.     On June 17, 2014, NAC was served by certified mail, return receipt requested,

16   at its principal place of business with the notice required by Cal. Civ. Code § 1782(a),

17   demanding that it cease the violations alleged herein, and restore to the members of the Class

18   all amounts paid for Ageless Male containing Testofen. NAC did not respond to or comply

19   with the demands made in the notice within 30 days after its receipt.
20           299.     On May 15, 2014, KingFisher was served by certified mail, return receipt
21   requested, at its principal place of business with the notice required by Cal. Civ. Code §
22   1782(a), demanding that it cease the violations alleged herein, and restore to the members of
23
     the Class all amounts paid for High T, High T Senior, High T Black, and High T Caffeine Free.
24
     KingFisher did not respond to or comply with the demands made in the notice within 30 days
25
     after its receipt.
26
             300.     On May 15, 2014, DreamBrands was served by certified mail, return receipt
27
     requested, at its principal place of business with the notice required by Cal. Civ. Code §
28

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1    1782(a), demanding that it cease the violations alleged herein, and restore to the members of
2    the Class all amounts paid for Mdrive and Mdrive Elite. DreamBrands did not respond to or
3    comply with the demands made in the notice within 30 days after its receipt.
4
             301.    On May 15, 2014, PharmaFreak was served by certified mail, return receipt
5
     requested, at its principal place of business with the notice required by Cal. Civ. Code §
6
     1782(a), demanding that it cease the violations alleged herein, and restore to the members of
7
     the Class all amounts paid for Test Freak. PharmaFreak did not respond to or comply with the
8
     demands made in the notice within 30 days after its receipt.
9
             302.    On May 15, 2014, NDS was served by certified mail, return receipt requested, at
10
     its principal place of business with the notice required by Cal. Civ. Code § 1782(a), demanding
11
     that it cease the violations alleged herein, and restore to the members of the Class all amounts
12
     paid for PMD N-TEST 600 and PMD Flex Stack. NDS did not respond to or comply with the
13
     demands made in the notice within 30 days after its receipt.
14

15
             303.    On May 15, 2014, MRI was served by certified mail, return receipt requested, at

16   its principal place of business with the notice required by Cal. Civ. Code § 1782(a), demanding

17   that it cease the violations alleged herein, and restore to the members of the Class all amounts

18   paid for NO2 Red Test. MRI did not respond to or comply with the demands made in the

19   notice within 30 days after its receipt.
20           304.    On May 15, 2014, Prevention LLC and NNC LLC were served by certified
21   mail, return receipt requested, at its principal place of business with the notice required by Cal.
22   Civ. Code § 1782(a), demanding that they cease the violations alleged herein, and restore to the
23
     members of the Class all amounts paid for Ultra T Gold, Vitali-T-Aid, and Vitali-T-Aid
24
     Energy. Prevention LLC and NNC LLC did not respond to or comply with the demands made
25
     in the notice within 30 days after its receipt.
26
             305.    On May 15, 2014, Premium Nutraceuticals was served by certified mail, return
27
     receipt requested, at its principal place of business with the notice required by Cal. Civ. Code §
28

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1    1782(a), demanding that it cease the violations alleged herein, and restore to the members of
2    the Class all amounts paid for Testoril. Premium Nutraceuticals did not respond to or comply
3    with the demands made in the notice within 30 days after its receipt.
4
               306.   Pursuant to Cal. Civ. Code § 1780(a)(1) and (3), Plaintiffs seek actual damages
5
     and restitution: (a) against the Gencor Defendants, equal to the amounts paid by the members
6
     of the Class for any Testosterone Booster; (b) against GNC, equal to the amounts paid by the
7
     members of the GNC Subclass for any Testosterone Booster purchased from GNC or any of its
8
     franchisees; and (c) against each of the Manufacturer Defendants, equal to the amounts paid for
9
     any Testosterone Booster by the members of the corresponding subclass (see paras. 245-255,
10
     supra).
11
               307.   Pursuant to Cal. Civ. Code § 1780(a)(4), Plaintiffs seek punitive damages
12
     against Defendants for representing that Testosterone Boosters are clinically proven to increase
13
     free testosterone levels, with knowledge of the falsity of those representations.
14

15
               308.   The affidavit required by Cal. Civ. Code § 1780(d) is attached hereto as Exhibit

16   119.

17                                THIRD CLAIM FOR RELIEF
                           VIOLATIONS OF UNFAIR COMPETITION LAW
18
                                           (Against All Defendants)
19
               309.   The allegations of the preceding paragraphs are incorporated by reference as if
20
     fully set forth herein.
21
               310.   Defendants’ false representations that Testosterone Boosters have been
22
     clinically proven to increase free testosterone levels constitute fraudulent business acts or
23
     practices and deceptive, untrue, and misleading advertising in violation of the Unfair
24
     Competition Law, Cal. Bus. & Prof. Code § 17200, et seq.
25
               311.   Defendants’ representations would have been material to a reasonable person in
26

27
     deciding whether or not to purchase a Testosterone Booster.

28

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1            312.    Plaintiffs and the Class justifiably relied upon Defendants’ representations in
2    purchasing Testosterone Boosters.
3            313.    Defendants’ violations of Cal. Civ. Code § 1770(a)(2), (5), and (7) alleged
4
     herein constitute unlawful business practices in violation of the Unfair Competition Law.
5
             314.    As a result of Defendants’ violations, Plaintiffs and the members of the Class
6
     have suffered injury in fact and lost money.
7
             315.    Pursuant to Cal. Bus. & Prof. Code § 17203, Plaintiffs seek an order enjoining
8
     these violations, and restoring to Plaintiffs and members of the Class all amounts acquired by
9
     Defendants as a result of these violations.
10
                                    FOURTH CLAIM FOR RELIEF
11                             VIOLATIONS OF FALSE ADVERTISING LAW
12                                        (Against All Defendants)
13           316.    The allegations of the preceding paragraphs are incorporated by reference as if
14   fully set forth herein.
15           317.    Defendants’ representations that Testosterone Boosters have been clinically
16
     proven to increase free testosterone levels are false.
17
             318.    Defendants know, or in the exercise of reasonable care should know, that these
18
     representations are false.
19
             319.    Defendants made these representations with the intent to induce Plaintiffs and
20
     the members of the Class to purchase Testosterone Boosters.
21
             320.    Defendants’ false representations induced Plaintiffs and the members of the
22
     Class to purchase Testosterone Boosters.
23
             321.    Defendants made or disseminated these representations, or caused them to be
24
     made or disseminated, before the public in the State of California, in the manner set forth
25
     above, including by television, radio, and over the internet, in violation of the False
26

27
     Advertising Law, Cal. Bus. & Prof. Code § 17500, et seq.

28

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1            322.    The Gencor Defendants made or disseminated these representations, or caused
2    them to be made or disseminated, from the State of California before the public nationally, in
3    violation of Cal. Bus. & Prof. Code § 17500, et seq.
4
             323.    Defendants’ representations that Testosterone Boosters have been clinically
5
     proven to increase free testosterone levels violate the express terms of Cal. Bus. & Prof. Code
6
     § 17508, which makes it “unlawful for any person doing business in California and advertising
7
     to consumers in California to make any false or misleading advertising claim, including claims
8
     that (1) purport to be based on factual, objective, or clinical evidence . . . .”
9
             324.    As a result of these violations, Plaintiffs and the members of the Class have
10
     suffered injury in fact and lost money.
11
             325.    Pursuant to Cal. Bus. & Prof. Code § 17535, Plaintiffs seek an order enjoining
12
     these violations, and restoring to Plaintiffs and members of the Class all amounts acquired by
13
     Defendants as a result of these violations.
14

15
                                     FIFTH CLAIM FOR RELIEF
                                  BREACH OF EXPRESS WARRANTY
16
                                           (Against All Defendants)
17
             326.    The allegations of the preceding paragraphs are incorporated by reference as if
18
     fully set forth herein.
19
             327.    Testosterone Boosters are goods.
20
             328.    Plaintiffs and the other members of the Class purchased Testosterone Boosters.
21
             329.    Defendants’ representations that Testosterone Boosters were clinically proven
22
     to increase free testosterone levels constituted an express warranty that Testosterone Boosters
23
     conformed to that affirmation or promise.
24
             330.    Defendants’ descriptions of Testosterone Boosters as having been clinically
25
     proven to increase free testosterone levels constituted an express warranty that Testosterone
26

27
     Boosters conformed to that description.

28

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1            331.    The Testosterone Boosters purchased by Plaintiffs and the Class were not, in
2    fact, clinically proven to increase free testosterone levels, in breach of these express warranties.
3            332.    As a direct and proximate result, Plaintiffs and the Class have sustained
4
     damages equal to the amounts paid for Testosterone Boosters.
5
                                 SIXTH CLAIM FOR RELIEF
6                   BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                            (Against All Defendants)
7

8
             333.    The allegations of the preceding paragraphs are incorporated by reference as if

9    fully set forth herein.

10           334.    Testosterone Boosters are goods.

11           335.    Plaintiffs and the other members of the Class purchased Testosterone Boosters.

12           336.    At all times relevant herein, Defendants were in the business of selling Testofen
13   or Testosterone Boosters containing Testofen.
14           337.    The implied warranty or merchantability, implied in every contract for the sale
15   of goods, includes the requirement that the goods conform to the promises or affirmations of
16
     fact made on the container or label.
17
             338.    Testosterone Boosters do not conform to the promises or affirmations of fact
18
     made on the container or label, set forth above, that they are clinically proven to increase free
19
     testosterone levels, in breach of the implied warranty of merchantability.
20
             339.    As a direct and proximate result, Plaintiffs and the Class have sustained
21
     damages equal to the amounts paid for Testosterone Boosters.
22
                                     SEVENTH CLAIM FOR RELIEF
23                                 BREACH OF IMPLIED WARRANTY
                               OF FITNESS FOR A PARTICULAR PURPOSE
24
                                            (Against All Defendants)
25
             340.    The allegations of the preceding paragraphs are incorporated by reference as if
26
     fully set forth herein.
27
             341.    Testosterone Boosters are goods.
28

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1            342.    Plaintiffs and the other members of the Class purchased Testosterone Boosters
2    for the purpose of increasing their free testosterone levels.
3            343.    At the time of purchase, Defendants knew or had reason to know that Plaintiffs
4
     and the other members of the Class intended to use Testosterone Boosters for the purpose of
5
     increasing their free testosterone levels.
6
             344.    At the time of purchase, the Gencor Defendants and the Manufacturer
7
     Defendants knew or had reason to know that Plaintiffs and the other members of the Class
8
     were relying on their skill and judgment as manufacturers of nutritional supplements in
9
     formulating Testosterone Boosters.
10
             345.    Plaintiffs and the Class justifiably relied on Defendants’ skill and judgment as
11
     manufacturers of nutritional supplements in formulating Testosterone Boosters.
12
             346.    At the time of purchase, GNC knew or had reason to know that Plaintiffs Garza,
13
     Aguero, Cowans, Erion, Ruhnke, Flores, Berger, Torres, and Baker, and the other members of
14

15
     the GNC Subclass were relying on GNC’s skill and judgment in the selection of Testosterone

16   Boosters.

17           347.    Testosterone Boosters are not clinically proven to increase free testosterone

18   levels, in breach of the implied warranty of fitness for a particular purpose.

19           348.    As a direct and proximate result, Plaintiffs and the Class have sustained
20   damages equal to the amounts paid for Testosterone Boosters.
21                                    EIGHTH CLAIM FOR RELIEF
                                              FRAUD
22
                                           (Against All Defendants)
23
             349.    The allegations of the preceding paragraphs are incorporated by reference as if
24
     fully set forth herein.
25
             350.    Defendants’ representations that Testosterone Boosters have been clinically
26

27
     proven to increase free testosterone levels, set forth above, are representations of fact.

28

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1            351.    Defendants’ representations that Testosterone Boosters have been clinically
2    proven to increase free testosterone levels, set forth above, were false when made.
3            352.    These representations would have been material to a reasonable person in
4
     deciding whether or not to purchase a Testosterone Booster.
5
             353.    Defendants knew that these representations were false at the time they were
6
     made, or acted with reckless disregard as to their truth or falsity.
7
             354.    Defendants made these representations with the intent to induce Plaintiffs and
8
     the Class to purchase Testosterone Boosters.
9
             355.    Plaintiffs and the Class justifiably relied upon Defendants’ misrepresentations
10
     by purchasing Testosterone Boosters.
11
             356.    As a direct and proximate result, Plaintiffs and the Class have suffered damages
12
     equal to the amounts paid for Testosterone Boosters.
13
             357.    To punish and deter their ongoing fraud, Defendants are also liable for punitive
14

15
     or exemplary damages.

16                                   NINTH CLAIM FOR RELIEF
                                  NEGLIGENT MISPREPRESENTATION
17
                                           (Against All Defendants)
18
             358.    The allegations of the preceding paragraphs are incorporated by reference as if
19
     fully set forth herein.
20
             359.    Defendants’ representations that Testosterone Boosters have been clinically
21
     proven to increase free testosterone levels, set forth above, are representations of fact.
22
             360.    Defendants’ representations that Testosterone Boosters have been clinically
23
     proven to increase free testosterone levels, set forth above, were false when made.
24
             361.    These representations would have been material to a reasonable person in
25
     deciding whether or not to purchase a Testosterone Booster.
26

27
             362.    Defendants made these representations without reasonable grounds for

28   believing them to be true.

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1            363.    Defendants made these representations with the intent to induce Plaintiffs and
2    the Class to purchase Testosterone Boosters.
3            364.    Plaintiffs and the Class justifiably relied upon Defendants’ misrepresentations
4
     by purchasing Testosterone Boosters.
5
             365.    As a direct and proximate result, Plaintiffs and the Class have suffered damages
6
     equal to the amounts paid for Testosterone Boosters.
7
                                      TENTH CLAIM FOR RELIEF
8                                          RESTITUTION

9                                          (Against All Defendants)

10           366.    The allegations of the preceding paragraphs are incorporated by reference as if

11   fully set forth herein.

12           367.    Defendants have received a benefit from Plaintiffs and the Class, who have
13   purchased Testosterone Boosters, profiting Defendants.
14           368.    Defendants received these benefits from Plaintiffs and the Class by selling
15   Testosterone Boosters under false pretenses, as set forth above.
16
             369.    It would be unjust and inequitable to permit Defendants to retain the benefits
17
     received from Plaintiffs and the Class.
18
             370.    Plaintiffs seek restitution of all such benefits, according to proof.
19
                             ELEVENTH CLAIM FOR RELIEF
20               VIOLATIONS OF PENNSYLVANIA UNFAIR TRADE PRACTICES
                           AND CONSUMER PROTECTION LAW
21
                        (Against Gencor Defendants, GNC, Direct Digital, NAC, and
22                         KingFisher, on Behalf of the Pennsylvania Subclass)
23           371.    The allegations of the preceding paragraphs are incorporated by reference as if
24   fully set forth herein.
25           372.    Should the Court determine that the Second, Third and/or Fourth Claims for
26   Relief alleged herein are unavailable to Class members whose purchases of Testosterone
27   Boosters were made outside the State of California, Plaintiff Baker asserts this claim, in the
28

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1    alternative, against the Gencor Defendants, GNC, Direct Digital, NAC, and KingFisher on
2    behalf of the Pennsylvania Subclass.
3            373.     The Testosterone Boosters purchased by Plaintiff Baker and the other members
4
     of the Pennsylvania Subclass are “goods” as defined in 73 P.S. § 201-9.2(a).
5
             374.     The Testosterone Boosters purchased by Plaintiff Baker and the other members
6
     of the Pennsylvania Subclass were purchased for “personal purposes” as defined in 73 P.S. §
7
     201-9.2(a).
8
             375.     Defendants’ representations, set forth above, that Testosterone Boosters have
9
     been clinically proven to increase free testosterone levels are false, and constitute unfair
10
     competition and deceptive acts or practices as defined by 73 P.S. § 201-2(4)(ii), which
11
     proscribes “[c]ausing likelihood of confusion or of misunderstanding as to the . . . approval, or
12
     certification of goods . . . .”
13
             376.     Defendants’ representations, set forth above, that Testosterone Boosters have
14

15
     been clinically proven to increase free testosterone levels are false, and constitute unfair

16   competition and deceptive acts or practices as defined by 73 P.S. § 201-2(4)(v), which

17   proscribes “[r]epresenting that goods . . . have . . . approval, characteristics, ingredients, uses,

18   [or] benefits . . . that they do not have . . . .”

19           377.     Defendants’ representations, set forth above, that Testosterone Boosters have
20   been clinically proven to increase free testosterone levels are false, and constitute unfair
21   competition and deceptive acts or practices as defined by 73 P.S. § 201-2(4)(vii), which
22   proscribes “[r]epresenting that goods or services are of a particular standard, quality, or grade, .
23
     . . if they are of another.”
24
             378.     Defendants’ representations, set forth above, that Testosterone Boosters have
25
     been clinically proven to increase free testosterone levels are false, and constitute unfair
26
     competition and deceptive acts or practices as defined by 73 P.S. § 201-2(4)(xiv), which
27

28

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1    proscribes “[f]ailing to comply with the terms of any written guarantee or warranty given to the
2    buyer at, prior to or after a contract for the purchase of goods or services is made.”
3              379.   Defendants’ representations, set forth above, that Testosterone Boosters have
4
     been clinically proven to increase free testosterone levels are false, and constitute unfair
5
     competition and deceptive acts or practices as defined by 73 P.S. § 201-2(4)(xxi), which
6
     proscribes “[e]ngaging in any other fraudulent or deceptive conduct which creates a likelihood
7
     of confusion or of misunderstanding.”
8
               380.   The unfair methods of competition and deceptive acts or practices enumerated
9
     above are unlawful in violation of 73 P.S. § 201-3.
10
               381.   Plaintiff Baker and the other members of the Pennsylvania Subclass purchased
11
     Testosterone Boosters in reliance on Defendants’ false representations that Testosterone
12
     Boosters have been clinically proven to increase free testosterone levels.
13
               382.   Plaintiff Baker and the other members of the Pennsylvania Subclass have
14

15
     suffered ascertainable losses of money as a result of the unfair methods of competition and

16   deceptive acts or practices enumerated above.

17             383.   Pursuant to 73 P.S. § 201-9.2(a), Plaintiff Baker and the other members of the

18   Pennsylvania Subclass seek actual damages equal to the amounts paid by them for any

19   Testosterone Booster purchased in the Commonwealth of Pennsylvania, treble damages,
20   reasonable attorneys’ fees, costs, and such additional relief as the Court deems necessary or
21   proper.
22                              TWELFTH CLAIM FOR RELIEF
                        VIOLATIONS OF ARIZONA CONSUMER FRAUD ACT
23

24
                        (Against Gencor Defendants, GNC, Truderma, and KingFisher
                                     on Behalf of the Arizona Subclass)
25

26
               384.   The allegations of the preceding paragraphs are incorporated by reference as if

27   fully set forth herein.

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1            385.   Should the Court determine that the Second, Third and/or Fourth Claims for
2    Relief alleged herein are unavailable to Class members whose purchases of Testosterone
3    Boosters were made outside the State of California, Plaintiff Torres asserts this claim, in the
4
     alternative, against Gencor Defendants, GNC, Truderma, and KingFisher on behalf of the
5
     Arizona Subclass.
6
             386.   Defendants’ representations, set forth above, that Testosterone Boosters have
7
     been clinically proven to increase free testosterone levels constitute “advertisements” as
8
     defined in A.R.S. § 44-1521(1).
9
             387.   The Testosterone Boosters purchased by Plaintiff Torres and the other members
10
     of the Arizona Subclass are “merchandise” as defined in A.R.S. § 44-1521(5).
11
             388.   The purchase of Testosterone Boosters by Plaintiff Torres and the other
12
     members of the Arizona Subclass constitute “sales” as defined in A.R.S. § 44-1521(7).
13
             389.   Defendants’ representations, set forth above, that Testosterone Boosters have
14

15
     been clinically proven to increase free testosterone levels are false, and constitute unlawful

16   practices as defined by A.R.S. § 44-1522(A), which proscribes “[t]he act, use or employment

17   by any person of any deception, deceptive or unfair act or practice, fraud, false pretense, false

18   promise, misrepresentation, or concealment, suppression or omission of any material fact . . . in

19   connection with the sale or advertisement of any merchandise . . . .”
20           390.   Defendants made these false representations with the intent that others rely on
21   them.
22           391.   In purchasing Testosterone Boosters, Plaintiff Torres and the other members of
23
     the Arizona Subclass relied on Defendants’ misrepresentations.
24
             392.   As a result of Defendants’ violations of A.R.S. § 44-1522(A), Torres and the
25
     other members of the Arizona Subclass have suffered damages, and seek actual damages equal
26
     to the amounts paid by them for any Testosterone Booster purchased in the State of Arizona,
27
     punitive damages, reasonable attorneys’ fees, and costs.
28

                                                      79
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1                                       PRAYER FOR RELIEF
2          WHEREFORE, Plaintiffs pray for relief as follows:
3          1.     For an order enjoining Defendants from continuing the fraudulent business
4                 practices and false advertising alleged herein;
5          2.     For an order restoring to Plaintiffs and the members of the Class the amounts
6                 wrongfully acquired from them by Defendants;
7          3.     For compensatory damages, according to proof;
8          4.     For actual damages, according to proof;
9          5.     For an order, pursuant to Cal. Civ. Code § 2224, imposing a constructive trust
10                upon the assets of Defendants acquired by means of the wrongful acts alleged;
11         6.     For punitive or exemplary damages;
12         7.     For attorney’s fees and costs, as allowed by statute and Cal. Govt. Code §
13                1021.5; and
14         8.     For such other and further relief as the Court deems just and proper.
15

16                                   DEMAND FOR JURY TRIAL
17         Plaintiffs demand a trial by jury on all claims so triable.
18

19                                                Respectfully submitted,
20
     Dated: December 31, 2014                     \s\ Barry Himmelstein
21                                                Barry Himmelstein (SBN 157736)
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